8:24-cv-00359-JFB-PRSE         Doc # 1     Filed: 09/13/24     Page 1 of 243 - Page ID # 1




UNITED STATES DISTRICT COURT FOR NEBRASKA

IN THE DISTRICT COURT OF SARPY COUNTY, NEBRASKA

                                                CIVIL COMPLAINT




Yukie Soto-Elliott Plaintiffs Credentials:
Sisseton- Wahpeton Oyate Lake Reservation Federal ID #34700017214 enrolled, News Reporter
ID #84265ELL, Human Rights Federal ID #8536SOT, & Cert/FEMA # H63NUWTB .

vs
DON SHIPLEY,
CAROL DIANE BLAZER SHIPLEY,
EXTREME SEAL EXPERIENCE, LLC,

I come now to the courts to bring a very disturbing case that has been building for 6
years not only has the plaintiff been physically, mentally and emotionally attacked but
now has found out who the parties are to be held accountable in all matters as well as
the defendants went on hearsay base on one sided person
We ask the courts, judged and jury to treat the defendants as terrorist of the united
state of the LGBTQA community as they knowing willing acknowledge mentally
emotionally physically spiritually of all their actions willfully to target the plaintiff
for 6 years and been sending people after the plaintiff I ask the judge, court and jury to
take on the consideration on all the illegal action the defendants have done and still
continuing to do, Futher more as you see the proof of burned I beg with mercy of the
courts to issues arrest warrants on the defendants due to the matter of there intention
was and is premediatd to cause death, fear, and stalking for over 6 years long and
breaking the laws as well to cross state lines


I YUKIE LOLA NASHAIA SOTO-ELLIOTT am the plaintiff and my mailing address i wish to
provide to the courts is PO Box 641503 Omaha NE 68164 PHONE NUMBER 402 if the judge
shall need my Physical Address i shall only give it to the Judge due to native American
protection custody the plaintiff was assaulted but not in jail but she is in a safe house
placement
8:24-cv-00359-JFB-PRSE         Doc # 1     Filed: 09/13/24     Page 2 of 243 - Page ID # 2




The Defendants are not living on Nebraska but their mailing address is last known to be
location is and can be serviced by the FBI, BIA, U.S Marshall, Sheriff's department,
Certified mail USPS, Privet Service. As well as the protection against the defendants they
have been targeting the. Plaintiff for over 6 years and more



The defendant
DON SHIPLE
CAROL DIANE BLAZER SHIPLEY,
EXTREME SEAL EXPERIENCE, LLC,
EXTREME SEAL EXPERIENCE
5701 Bar Neck Rd
Cambridge, MD 21613

DON SHIPLE
CAROL DIANE BLAZER SHIPLEY
324 Gallbush Rd. Chesapeake, VA 23322.
PHONE: 757-572-7203




                                     Complaint

    1. The defendant DON SHIPLEY, CAROL DIANE BLAZER SHIPLEY, and
       EXTREME SEAL EXPERIENCE, LLC, Defendants. Did in fact on Aug 8th
       2018 did in fact went viral based on Hearsay, Defamation of character on the
       plaintiff the false allegation claim came from the plaintiffs ex-wife Tabitha
       Elliott aka Tabitha Berry but the defendant did not interview or make contact at
       all with the plaintiff there for base on this action the law protected the plaintiff
       in this manner due to the plaintiff at the time being was in a prison of Nebraska
       correction facility The tort of defamation consists of both libel (written
       statements) and slander (oral statements). In an action for slander, the plaintiff
       must prove special damages, namely proof of actual pecuniary loss, unless the
       statement complained of falls into one of the four "per se" categories of
       defamation requiring no proof of special damage: allegations that (1) plaintiff
       committed a crime, (2) are likely to cause damage to reputation, (3) plaintiff
       suffers from a loathsome disease or disorder; or (4) allege serious
8:24-cv-00359-JFB-PRSE        Doc # 1     Filed: 09/13/24    Page 3 of 243 - Page ID # 3




      misconduct. The First Amendment prohibits the "abridging [of] freedom of speech, or
       of the press," a prohibition which the United States Supreme Court has interpreted to
       impose specific limits on the ability of plaintiffs to prove and collect damages for
       defamation.
 Rule 801: a) defines hearsay as an out-of-court statement made by someone other
than the current witness, which is offered in court to prove the truth of the matter
asserted in the statement. In simpler terms, it's when someone tries to use a
statement made by someone else as evidence to prove that what the statement says is
true. 27-802.Rule 802. Hearsay rule.
Hearsay is not admissible except as provided by these rules, by other rules adopted by
the statutes of the State of Nebraska, or by the discovery rules of the Supreme Court.
Never once did the defendant intview or talk to the plaintiff at all the defendant went
based on a Halloween costume that the plaintiff ex-wife did infactt buy hers and the
dogs and son outfit as well for trick or treat on 10-31-2017
The plaintiff had no knowadge of this live podcast interview with the defendant and
the plaintiff ex-wife and has acknowked the say willfully knowing to commit a crime
of action( A WOMAN SCOREN HA VE NO FURRY) NEVER ONCE DID THEY
Interview the plaintiff.

   2. The defendant DON SHIPLEY, CAROL DIANE BLAZER SHIPLEY, and
      EXTREME SEAL EXPERIENCE, LLC, dose and has a private website
      dedicated to target the plaintiff due to at the time was a register sex offender
      and was on it for unwanted touching of a adult however the laws prohibit such
      thing by worldwide is not allowed to do and if such shall be chartered for.
      Crime Sex offender registry information shall not be used to retaliate against
      the registrants, their families, or their employers in any way. Vandalism, verbal
      or written threats of harm are illegal and will result in arrest and prosecution.
      The defendant has exposed on there website and intentionally targeted the
      plaintiff which means the first amendment that they will try to file motion to
      dismiss has been revoke due to using it as retaliation For Title VI, as discussed
      elsewhere in this manual, Section 601 prohibits discrimination based on race,
      color, or national origin, while Section 602 authorizes and directs federal
      departments and agencies that extend financial assistance to issue rules,
      regulations, or orders to effectuate Section 601 . Under this authority, most
      federal grant-making agencies have included an anti-retaliation provision in
      their Title VI regulations.[2] The DOJ regulation provides the following: No
      recipient or other person shall intimidate, threaten, coerce, or discriminate
      against any individual for the purpose of interfering with any right or privilege
      secured by [Title VI], or because he has made a complaint, testified, assisted, or
      participated in any manner in an investigation, proceeding or hearing under this
      subpart.
8:24-cv-00359-JFB-PRSE       Doc # 1    Filed: 09/13/24    Page 4 of 243 - Page ID # 4




  3. The defendant DON SHIPLEY, CAROL DIANE BLAZER SHIPLEY, and
     EXTREME SEAL EXPERIENCE, LLC has been stalking and following ever
     movement to keep his followers updated even when the plaintiff came out a the
     hate crime of this manner of attacks has numbered on this issues 18 U.S. Code
     -,B 249 - Hate crime acts based on her sex and gender and disability his whole
     page has devoted people to kill the plaintiff in the manner enough that his
     views and followers as been exposed to this manner and upload pictures
     address and l media pages to promises death treats they have out seek the
     plaintiff and have done so. (c) Definitions In this section (4) the term "gender
     identity" means actual or perceived gender-related characteristics ~and
  4. The defendant DON SHIPLEY, CAROL DIANE BLAZER SHIPLEY, and
     EXTREME SEAL EXPERIENCE, LLC dose in fact target the plaintiff for over
     7 years long 28 CFR ....,B 55.17 - Targeting§ 55.17 Targeting.
     The term "targeting" is commonly used in discussions of the requirements of
     section 4(t)(4) and section 203(c). "Targeting" refers to a system in which the
     minority language materials or assistance required by the Act are provided to
     fewer than all persons or registered voters. It is the view of the Attorney
     General that a targeting system will normally fulfill the Act's minority language
     requirements if it is designed and implemented in such a way that language
     minority group members who need minority language materials and assistance
     receive them.

  5. The defendant DON SHIPLEY, CAROL DIANE BLAZER SHIPLEY, and
     EXTREME SEAL EXPERIENCE, LLC did and has and to this day is still
     stalking 18 U.S. Code§ 2261A- Stalkin (2) with the intent to kill, injure,
     harass, intimidate, or place under surveillance with intent to kill, injure, harass,
     or intimidate another person, uses the mail, any interactive computer service or
     electronic communication service or electronic communication system of
     interstate commerce, or any other facility of interstate or foreign commerce to
     engage in a course of conduct that-
     (A) places that person in reasonable fear of the death of or serious bodily injury
     to a person, a pet, a service animal, an emotional support animal, or a horse
     described in clause (i), (ii), (iii), or (iv) of paragraph (l)(At or
     (B) causes, attempts to cause, or would be reasonably expected to cause
     substantial emotional distress to a person described in clause (i), (ii), or (iii) of
     paragraph ( 1)(A),

  6. The defendant DON SHIPLEY, CAROL DIANE BLAZER SHIPLEY, and
     EXTREME SEAL EXPERIENCE, LLC will try to file motion to dismiss
     under shotgun actions blow and try to denies any of these allegation which will
     perjury them to be untruth which the laws say Federal perjury offenses are
8:24-cv-00359-JFB-PRSE      Doc # 1    Filed: 09/13/24    Page 5 of 243 - Page ID # 5




     governed by 18 U.S.C. §§ 1621, 1622, and 1623. Collectively, these statutes
     make it a crime to testify falsely before a court, other tribunal, or a grand jury,
     or to persuade other individuals to commit perjury (suborning perjury). 18 U.S .
     Code § I 001 - Statements or entries generally

  7. The defendant DON SHIPLEY, CAROL DIANE BLAZER SHIPLEY, and
     EXTREME SEAL EXPERIENCE, LLC also committed that actions willful to
     send his customers to attack physically mentally at the plaintiff and disclosed
     private residents address work address to intention to attempt to murder a
     transgender woman based on a Halloween picture that a ex-wife reptation on
     her after coming out as transgender then lied to the cops about a domestic
     violence case that was active at the time of the recording 18 U.S. Code § 1001 -
     Statements or entries generally

  8. The defendant DON SHIPLEY, CAROL DIANE BLAZER SHIPLEY, and
     EXTREME SEAL EXPERIENCE, LLC also as crossed and posted the
     plaintiff company to where the defendants cult operation of people follow this
     fake news is allowing to interfere the company imagine

  9. The defendant DON SHIPLEY, CAROL DIANE BLAZER SHIPLEY, and
     EXTREME SEAL EXPERIENCE, LLC as ignored all 8 cease and desist
     orders over the 7 years and posted videos bragging about the content and
     literacy of Grammer when the plaintiff did ask him and explained to him in
     many emails to take it down base on false allegation and hearsay

     Called the plaintiff was slander by called by the defendant on videos that are all
     based on Mrs. Berry a former ex-wife that retaliation after the plaintiff told her
     she was transgender then the defendant went on basic hearsay Federal Rule of
     Evidence 802 is commonly referred to as the "Hearsay Rule." It serves as a
     fundamental rule that establishes the general prohibition against the use of
     inadmissible hearsay evidence in legal proceedings. The defendant never once
     talked in person or interviewed the plaintiff at all there for went public
     launching live stream pod casting dates in question

     1. Aug 8th 2018 posted a live confession of guilt of hearsay based on a ex-wife
        that seeker retaliation and hate crime action on the plaintiff
     2. May 66th 2000 a live confession of guilt of hearsay based on a ex-wife that
        seeker retaliation and hate crime action on the plaintiff as well admitted
        that that defendant did get the legally email of cease and desist order to
        take down the false allegations
8:24-cv-00359-JFB-PRSE       Doc # 1     Filed: 09/13/24    Page 6 of 243 - Page ID # 6




     3. Nov 18th 2023 2018 posted a live confession of guilt of hate crime of gender
        sex as well as serial stalking, targeting, still using hearsay as well
        harassment cyber bulling violation of 1st amendment retaliation invasion of
        privacy willful with no remorse of actions to post false statements Read the
        law: Shapiro v. Massengill, 105 Md. App. 743, 773 (1995) 25-839. Libel or
        slander; how sufficiently pleaded; burden of proof.
        In an action for a libel or slander it shall be sufficient to state, generally, that
        the defamatory matter was published or spoken of the plaintiff, and if the
        allegation be denied, the plaintiff must prove on the trial the facts, showing
        that the defamatory matter was published or spoken of him. To prove prim a
        facie defamation, a plaintiff must show four things: 1) a false statement
        purporting to be fact; 2) publication or communication of that statement to
        a third person; 3) fault amounting to at least negligence; and 4) damages, or
        some harm caused to the reputation of the person or entity who is the
        subject of the statement.

        State-Specific Elements

        Different states vary in their anti-defamation statutes. As such, courts in
        different states will interpret defamation laws differently, and defamation
        statutes will vary somewhat from state to state. In Davis v. Boeheim, 110
        A.D.3d 1431 (N.Y. 2014
     4. On September 6th 2024 my ex husband Sasuke Soto-Elliott did call the
        defendants MR. and Mrs Shipley and advise them the laws and to remove
        the posts video and all hate crime action down as you will the defendants
        made mockery and no remorse in there illegal actions and laughed and then
        contuined to follow threw for over 6 years then called on them NO I didn't
        give concent for them to record me at all Virginia Wiretapping Law
        Virginia's wiretapping law is a "one-party consent" law. Virginia makes it a
        crime to intercept or record any "wire, oral, or electronic
        communication" unless one party to the conversation consents.Virginia
        Code§ 19.2-62. Therefore, if you operate in Virginia, you may record a
        conversation or phone call if you are a party to the conversation or you get
        permission from one party to the conversation in advance. That said, if you
        intend to record conversations involving people located in more than one
        state, you should abide by the recording law of the most restrictive state
        involved, or play it safe and get the consent of all parties.
8:24-cv-00359-JFB-PRSE            Doc # 1      Filed: 09/13/24       Page 7 of 243 - Page ID # 7




28-311.08.
Unlawful intrusion; photograph, film, or record image or video of intimate area;
distribute or make public; penalty; court; duties; registration under Sex Offender
Registration Act; statute of limitations.
(1) It shall be unlawful for any person to knowingly intrude upon any other person without his or her
consent in a place of solitude or seclusion. Violation of this subsection is a Class I misdemeanor. A
second or subsequent violation of this subsection is a Class IV felony.

18 U.S.C. §§ 2510-22, as amended by the Electronic Communications Privacy
Act (ECPA)(Pub. L. 99-508; 10/21 /86), the Communications Assistance to Law
Enforcement Act (CALEA)(Pub. L. 103-414; 10/24/94), Antiterrorism and
Effective Death Penalty Act of 1996 ("Antiterrorism Act") (Pub. L. 104-132;
4/24/96), USA PATRIOT Act (Pub. L. 107-56; 10/26/01 ), USA PATRIOT Additional
Reauthorization Amendments Act of 2006 (Pub. L. 109-178; (3/9/06), FISA
(Foreign Intelligence Surveillance Act) Amendments Act of 2008 (Pub. L.110-261;
7/10/2008), FISA Sunsets Extension Act (Pub. L. 112-3; 2/25/11) PATRIOT
Sunsets Extension Act of 2011 (Pub. L. 112-14; 5/26/11 ). These statutes are
codified, inter a/ia, at 18 U.S.C. § 2510, et seq.

Title Ill of the Omnibus Crime Control and Safe Streets Act of 1968. (Pub. L. 90-
351; 6/19/68), also known as the "Wiretap Act":

    •   prohibits the unauthorized, nonconsensual interception of "wire, oral, or
        electronic communications" by government agencies as well as private
        parties,
    •   establishes procedures for obtaining warrants to authorize wiretapping by
        government officials, and
    •   regulates the disclosure and use of authorized intercepted
        communications by investigative and law enforcement officers.
8:24-cv-00359-JFB-PRSE             Doc # 1       Filed: 09/13/24         Page 8 of 243 - Page ID # 8




   November 18th, 2023                                             f Sh.are on Facebook     W,            Tweet on T\Nltter




   Phony Navy SEAL of the Week. Jedi Master Minister Yukie Lola Nashaia Sota Elliott

   Phony Navy SEAL of the Week . Jedi Master Minister Yukie Lola Nashaia Sota Elliott. Many
   Thanks For The SUPPORT...




 August 08th, 2018                                                                               ..:::. • ~~ ...                                ~ ,,.- ~ .;~
                                                                   f   Share on Facebook
                                                                                           ,-.



                                                                                            •
                                                                                                 W, Tw~t on Twitte~
                                                                                                            -
                                                                                                                   "



                                                                                                                   •.,
                                                                                                                         ,'.'>



                                                                                                                                 .'.,
                                                                                                                                        -.""



                                                                                                                                               ... ...   tr'·



 Phony Navy SEAL Phony Army Ranger of the Week. Robert Christian Elliott. The TOTAL NUT JOB Phony
 SEAL.

 Phony Navy SEAL Phony Army Ranger of the Week . Robert Christian Elliott. The TOTAL NUT
 JOB Phony SEAL. .. Many Thanks For The SUPPORT.. .
8:24-cv-00359-JFB-PRSE             Doc # 1       Filed: 09/13/24         Page 9 of 243 - Page ID # 9




   November 18th. 2023
                                                                   f Share on F ...'lc.ebook   'JI   Tweet on Twitter




   Phony Navy SEAL of the WeeR . Jedi Master Minister YuRie Lola Nashaia Sota Elliott

   Phony Navy SEAL of the Week. Jedi Master Minister Yukie Lola Nashaia Sota Elliott . Many
   Thanks For The SUPPORT. . .




September 06th, 2024
                                                                   f Share on Facebook          , I Tweet on Twitter


Phony SEAL Minister Yu~ie rears her/his Ugly Head again and defending a Commanding Officer.

Phony SEAL Minister Yukie rears her/his Ugly Head again and defending a Commanding
Officer. Many Thanks For The SUPPORT...
8:24-cv-00359-JFB-PRSE                 Doc # 1        Filed: 09/13/24          Page 10 of 243 - Page ID # 10




 September 06th, 2024
                                                                           f Share on Facebook

 Phony SEAL Minister Yukie rears her/his Ugly Head again and defending a Commanding Officer.

 Phony SE A L Minister Yukie rears her/his Ugly Head again and defending a Commanding
 Officer. Many Thanks For The SUPPORT. . .



    10.The defendant DON SHIPLEY, CAROL DIANE BLAZER SHIPLEY, and
         EXTREME SEAL EXPERIENCE, LLC willfully and knowing posted false
         allegations of this statement on his post Phony Navy SEAL of the Week. ..
         Robert Elliott. The Don Shipley Slandered my Character While I
         was in Prison for Sex Crimes Phony SEAL.
Phony Navy SEAL of the Week ... Robert Elliott. The Don Shipley Slandered my Character While I was in Prison for Sex
Crimes Phony SEAL. Many Thanks For The SUPPORT ...




The plaintiff was not in prison for a sex crime the plaintiff was there for domestic assault
and intentional child abuse only on 10-5-2017 the defendant went on based on hearsay that
the defendant sores Tabitha berry aka Tabitha Elliott lied and was charge with false
8:24-cv-00359-JFB-PRSE          Doc # 1      Filed: 09/13/24      Page 11 of 243 - Page ID # 11




reporting by the FBI thus this action alone has cause the plaintiff death threats there for
untruth base news story or pod cast was illegal launched Md. R. Evid. 5-803 27-802.



Rule 802. Hearsay rule.



Hearsay is not admissible except as provided by these rules, by other rules adopted by the
statutes of the State of Nebraska, or by the discovery rules of the Supreme Court. A
statement that: (1) the declarant does not make while testifying at the current trial or
hearing; and (2) a party offers in evidence to prove the truth of the matter asserted in the
statement. (F.R.E. 801(c)).




    11.        The defendant DON SHIPLEY, CAROL DIANE BLAZER SHIPLEY,
       and EXTREME SEAL EXPERIENCE, LLC willfully and knowing strike fear
       enough to the plaintiff with the intent to terrorize her life and mark her to where
       the pod cast cult has gather other to try to kill, attack mentally physically
       emotionally spiritually the law says

28-311.01.Terroristic threats; penalty. a) With the intent to terrorize another; (c) In
reckless disregard of the risk of causing such terror or evacuation. Md. Code, Crim. Law § 3-1001
(d) A person who violates this section may be indicted, prosecuted, tried, and
convicted in any county where: (3) the consequences of the threat occurred. (2) In
addition to the penalties provided in paragraph ( 1) of this subsection, a court shall
order a person convicted under this section to reimburse the appropriate unit of
federal , State, or local government or other person for any expenses and losses
incurred in responding to the unlawful threat unless the court states on the record the
reasons why reimbursement would be inappropriate. (a) This section applies to a
threat made by oral or written communication or electronic communication, as
defined in § 3-805(a) of this title. Title 18, U.S .C., Section 249 - Matthew Shepard
and James Byrd, Jr., Hate Crimes Prevention Act 25 CFR § 11.402 - Terroristic
threats. § 11.402 Terroristic threats.
A person is guilty of a misdemeanor if he or she threatens to commit any crime of
violence with purpose to terrorize another or to cause evacuation of a building, place
of assembly or facility of public transportation, or otherwise to cause serious public
inconvenience or in reckless disregard of the risk of causing such terror or
.          .
mconvemence.
8:24-cv-00359-JFB-PRSE                   Doc # 1       Filed: 09/13/24                 Page 12 of 243 - Page ID # 12




  (   R-Elliott worldwide news Inc & Community emer... , •,         (   R-Elliott worldwide news Inc &Community emer... "'

                                                                          R-Elliott worldwide news Inc &Community
                                                                          emergency response team
                                                                          Postea c 1_,,,e Soto-E'·1ot:




 See insights and ads

  r/j Like        Q Comment             @send        ?:) Share
 Hidden by This Page •

            Truthy Mcgee
            Dor1't forget you a,so oretcnrJ to bed ete'a" ,,r




 Q        w E R T
                             --
                                    y     u           0         p
                                                                    See insights and ads

                                                                     UJ Like           QComment          @send
                                                                                                                 ..?:) Share

      A      s D F G H J                            K L             Hidden by This Page •

                                                                            T•uthy ••cgee


  •          z X          C V           B N M               @               s-st

                                                                               : •-a   D
                                                                                                                 C'l S
                                                                                                                 ( d
                                                                                                                         t;;


                                                                                                                         Cl


      123                     space                   return



      Q                                                   ~
8:24-cv-00359-JFB-PRSE                          Doc # 1      Filed: 09/13/24   Page 13 of 243 - Page ID # 13




  ( R-Elliott worldwide news Inc... Q) • l               Q




                                  IJSPRF.5.SCORPS.ORG




  R-Elliott worldwide news Inc &
  Community emergency response
  team
  490 likes • 562followers




  ENROLLED TRIBAL/LGBTQAI+/ veteran/CERT
  COMMUNITY EMERGENCY RESPONDER TEAM
  CAPTAINSTORMCHASER/ FREELANCER NEWS
  REPORTERS OUR MAIN COVERAGE GOVERNMENT
  CORRUPTION/DISCRIMINATION ADA LAWS
  LGBTQIA'sfhuman rights/civil rights/professional
  photographer

    ffD See dashboard            ,. Advertise


   Posts    About     Photos       Videos       More •




                             0          0
8:24-cv-00359-JFB-PRSE                            Doc # 1        Filed: 09/13/24   Page 14 of 243 - Page ID # 14




                          reddit.com                       r!J



   Overview       Posts        Comments


 New v    § v


     r/FirstResponderCringe • Bellevue, OK
     Alfectionate_Self396 replied to Ptards_NumberJ_Fan 6 hr.
     ago

     Look up Robert Christian Elliot who Yukie was.
     Convicted sex offender.
     ◊ 2◊        CJ Reply      P Share


   ) r/FirstResponderCringe • Bellevue, OK
     Affectionate_Self396 commented 6 hr. ago

     Robert Christian Elliot, who he was before Yukie.
     Nothing but stolen valor. Don Shipley exposed Yukie.
     ◊ 1 ,0      CJ Reply      p Share


     rffind_NicholKessinger • Nk in Arvada, CO?

     A!fectionate_Self396 replied to Minute-Tale7444 7 mo. ago

     NK sure did have involvement in the tragedy that
     occurred on August 13th 2018. It is known NK was
     dabbling in witchcraft and gave CW a weird tea to drink.
     CW even admitted he felt hypnotized after that.
     ◊ 1 ,0      [( Share




                               +                          ...
8:24-cv-00359-JFB-PRSE                               Doc # 1      Filed: 09/13/24                                Page 15 of 243 - Page ID # 15




                                     Flrst: ROBERT                                                   Middle:
Legal Name                                                                                                                                     lick for Photo
        Last:                        First:                                                          Middle:                     Suffix:
Details
     Gender: MALE                Race: NATIVE AMERICAN                                     Date of Birth: 12/10/1982
     Facility:

~ - - - - - - - - - - - - - - - - - Sentence Information                                                  --- - - - - - - - - - - - - -                         --
Sentence Dates
                    Facility:
            Total Sentence: 1 Years 0 Months 0 Days                                To 3 Years 0 Months 0 Days
       Sentence Begin Date: 09/20/2012                              Good Time Law: 191                   Projected Release Date: 12/11I2013

Parole Information
                                                                      Parole Hearing                                      Next Parole Board Review
       Parole Eligibility Date: 12/11/2012
                                                                               Date:                                                         Date:
                                                                    Parole Discharge EXPIRATION OF
      Parole Discharge Date: 09/2512013
                                                                               Type: PAROLE

Re/ease lnfonnation
                                                                               Reason forDISCRETIONARY
               Release Date: 04/24/2013
                                                                                 Release: PAROLE
         Release Information
                 Comments:



                                                                                              Offense Tenn
                            Desert tlon                                    Run Code     Minimum         Maximum   Coun of Commitment
                  SEX OFFENDER REG ACT VIOLATION                              CC    1 Yr 0 Mo 0 Da 3 Yr 0 Mo 0 Da      BUFFALO
                             Felony - -

                                                                    Disclaimer

•                                                       Demo ra hies                                                                       ,
Committed Name
        Last: ELLIOTT                First: ROBERT                                                    Middle:C                   Suffix:
Legal Name                                                                                                                                     lick for Photo
        Last:                        First:                                                           Middle:                    Suffix:
Details
     Gender: MALE                 Race: NATIVE AMERICAN                                     Date of Birth: 12/10/1982
     Facility:


                                                               Sentence Information                                                                              7
 Sentence Dates
                      Facility:
              Total Sentence: 3 Years 0 Months 0 Days                                               To 3 Years 0 Months 0 Days
       Sentence Begin Date: 08/22/2018                                                                                             Projected Release
                                                                  Good Time Law: 191                                                                 0410412019
                                                                                                                                               Date:

 Parole lnfonnation
       Parole Eligibility Date: NA                                 Parole Hearing                                                 Next Parc_,le Board
                                                                                                                                                      1012018
                                                                            Date:                                                      Review Date:
      Parole Discharge Date:                                               Parole
                                                                  Discharge Type :

 Re/ease lnfonnatlon
                                                                          Reason for DISCHARGED FROM PRS
                Release Date: 10/13/2020
                                                                            Release: PER PROBTN
         Release Information
                 Comments:

                                                               ... . ,.        . , .. . . : 111 .


                                                                                                               Offense Tenn
                              Descrlation                                  Run Code                      Minimum         Maximum  County of Commitment
                     DOMESTIC ASSLT 3RD DEG/SUBS                                                     3 Yr 0 Mo 0 Da 3 Yr 0Mo 0 Da        ADAMS
                               Felony ••
                       INTENTIONAL CHILD ABUSE                                       cc              3 Yr 0 Mo 0Da 3 Yr 0Mo 0Da                    ADAMS
                               Felony • •                                  i
8:24-cv-00359-JFB-PRSE      Doc # 1    Filed: 09/13/24   Page 16 of 243 - Page ID # 16




   12.The defendant DON SHIPLEY, CAROL DIANE BLAZER SHIPLEY, and
      EXTREME SEAL EXPERIENCE, LLC willfully and knowing have violated the
      homeland security law of proception on the LGBTQA as the plaintiff is
      registered for the council of human rights for the transgender community the
      defendants willfully willing and knowing there actions are acting ill manner and
      illegal Summary of Terrorism-Related Threat to the United States

      The United States remains in a heightened threat environment. Lone offenders
      and small groups motivated by a range of ideological beliefs and personal
      grievances continue to pose a persistent and lethal threat to the Homeland.
      Both domestic violent extremists (DVEs) and those associated with foreign
      terrorist organizations continue to attempt to motivate supporters to conduct
      attacks in the Homeland, including through violent extremist messaging and
      on line calls for violence. In the coming months, factors that could mobilize
      individuals to commit violence include their perceptions of the 2024 general
      election cycle and legislative or judicial decisions pertaining to sociopolitical
      issues. Likely targets of potential violence include US critical infrastructure,
      faith-based institutions, individuals or events associated with the LGBTQIA+
      community, schools, racial and ethnic minorities, and government facilities and
      personnel, including law enforcement.

      Duration

      Issued: May 24, 2023 at 2:00 PM ET

      Expires: November 24, 2023 at 2:00 PM ET

      Additional Information
      In May 2023, a now-deceased individual killed eight and injured seven others at
      an outlet mall in Allen, Texas. Law enforcement continues to investigate the
      motive behind the attack, but initial reporting suggests the attacker fixated on
      mass shootings and held views consistent with racially or ethnically motivated
      violent extremist (RMVE) and involuntary celibate violent extremist ideologies.

      In March 2023, a now-deceased individual shot and killed six people at a
      Christian elementary school in Nashville, Tennessee. Law enforcement
      continues to investigate the motive behind the attack and has indicated the
      individual studied other mass murderers.
8:24-cv-00359-JFB-PRSE      Doc # 1    Filed: 09/13/24   Page 17 of 243 - Page ID # 17




     Also in March 2023, a RMVE driven by a belief in the superiority of the white
     race was arrested and charged with allegedly attempting to use an improvised
     incendiary device to burn down a church in Ohio that was planning to host a
     drag-themed event.

     In February 2023, two RMVEs driven by a belief in the superiority of the white
     race were arrested and are now awaiting trial for plotting an attack against
     electrical substations in Maryland. These arrests followed a series of recent
     attacks against electrical infrastructure, which some DVEs have praised and
     Leveraged to call for more attacks on critical infrastructure.

     Since spring of 2022, alleged DVEs in Georgia have cited anarchist violent
     extremism, animal rights/environmental violent extremism, and anti-law
     enforcement sentiment to justify criminal activity in opposition to a planned
     public safety training facility in Atlanta. Criminal acts have included an alleged
     shooting and assaults targeting law enforcement and property damage targeting
     the facility, construction companies, and financial institutions for their
     perceived involvement with the planned facility.

     Meanwhile, foreign terrorists continue to use media to call for lone offender
     attacks in the West, condemn US foreign policy, and attempt to expand their
     reach and grow global support networks. Most recently, in January 2023, an
     individual from Maine who was inspired by a variety of foreign terrorist content
     was charged with federal crimes for an attack on New York City Police
     Department (NYPD) officers during New Year's Eve celebrations in Times
     Square.

     How We Are Responding

     OHS works with partners across every level of government, in the private sector,
     and in local communities to keep Americans safe, including through the
     following examples of our resources and support:

     OHS and the FBI continue to share timely and actionable information and
     intelligence with the broadest audience possible. This includes sharing
     information and intelligence with our partners across every level of government
     and in the private sector. We conduct recurring threat briefings with private
     sector, state, local, tribal, territorial, and campus partners, including to inform
     security planning efforts. OHS remains committed to working with our partners
     to identify and prevent all forms of targeted violence and terrorism, and to
     support law enforcement efforts to keep our communities safe.
8:24-cv-00359-JFB-PRSE      Doc # 1    Filed: 09/13/24    Page 18 of 243 - Page ID # 18




     OHS, in collaboration with its federal partners, launched the Prevention
     Resource Finder (PRF) website in March 2023. The PRF is a comprehensive
     web repository of federal resources available to help communities understand,
     mitigate, and protect themselves from targeted violence and terrorism.

     The OHS Center for Faith-Based and Neighborhood Partnerships continues to
     engage a coalition of faith-based and community organizations, including
     members of the Faith-based Security Advisory Council (FBSAC), which OHS
     reconstituted in July 2022, to help build the capacity of faith-based and
     community organizations seeking to protect their places of worship and
     community spaces.

     OHS's Office of Intelligence and Analysis (l&A), the FBI, and the National
     Counterterrorism Center in 2021 jointly updated behavioral indicators of U.S.
     extremist mobilization to violence. Further, l&A's National Threat Evaluation
     and Reporting Program continues to provide tools and resourcesfor federal,
     state, local, tribal, and territorial partners on preventing terrorism and targeted
     violence, including online suspicious activity reporting training.

     OHS's Transportation Security Administration (TSA) lntermodal Security
     Training and Exercise Program (I-STEP) and Exercise Information System
     (EXIS•A:) work with government and private sector partners - including owners
     and operators of critical transportation infrastructure - to enhance security and
     reduce risks posed by acts of terrorism.

     OHS's Cybersecurity and Infrastructure Security Agency (CISA) works with
     government and private sector partners - including owners and operators of
     critical infrastructure and public gathering places - to enhance security and
     mitigate risks posed by acts of terrorism and targeted violencethrough its
     network of Protective Security Advisors and resources addressing Active
     Shooters, School Safety, Bombing Prevention, and Soft Targets-Crowded
     Places.

     OHS's Center for Prevention Programs and Partnerships (CP3) educates and
     trains stakeholders on how to identify indicators of radicalization to violence,
     where to seek help, and the resources that are available to prevent targeted
     violence and terrorism. In 2022, CP3 awarded about $20 million in grants
     through its Targeted Violence and Terrorism Prevention (TVTP) Grant Program.
     To date, over 100 applicants and more than $SOM in grant funds have been
     requested for the FY23 grant cycle.
8:24-cv-00359-JFB-PRSE      Doc # 1    Filed: 09/13/24   Page 19 of 243 - Page ID # 19




      In 2021 and 2022, OHS designated domestic violent extremism as a "National
      Priority Area" within its Homeland Security Grant Program (HSGP), enabling our
      partners to access critical funds that help prevent, prepare for, protect against,
      mitigate, respond to, and recover from related threats.

      In 2022, DH S's Nonprofit Security Grant Program (NSGP) provided over $250
      million in funding to support target hardening and other physical security
      enhancements to non-profit organizations at high risk of terrorist attack.

      SchoolSafety.gov consolidates school safety-related resources from across the
      government. Through this website, the K-12 academic community can also
      connect with school safety officials and develop school safety plans.

      Resources to Stay Safe

      Stay Informed and Prepared

      Be prepared for emergency situations and remain aware of circumstances that
      may place you at risk. Make note of your surroundings and the nearest security
      personnel.

      Keep yourself safe online and maintain digital and media literacy to recognize
      and build resilience to false or misleading narratives.

      Review Department of Homeland Security (OHS) resources for how to better
      protect businesses, houses of worship, and schools, and ensure the safety of
      public gatherings.

      Prepare for potential active shooter incidents, build counter-improvised
      explosive device capabilities, and enhance awareness of terrorist threats, to
      include bomb threats.

      Learn more about community-based resources including Community
      Awareness Briefings to help prevent individuals from radicalizing to violence.

      The Nationwide Suspicious Activity Reporting (SAR) Initiative (NSI) is a
      collaborative effort by OHS, the FBI, and law enforcement partners to identify
      and report threats of terrorism and other related criminal activity.

      The Power of Hello Campaign and De-Escalation Series help you observe and
      evaluate suspicious behaviors, including information to mitigate potential risks,
      and obtain help when necessary.
      View webinars on Building Partnerships, and Preventing Targeted Violence and
      Protecting the Safety and Security of Houses of Worship.
8:24-cv-00359-JFB-PRSE         Doc # 1      Filed: 09/13/24        Page 20 of 243 - Page ID # 20




      Report Potential Threats

      Listen to local authorities and public safety officials.
      If You See Something. Say Something,)E Report suspicious activity and threats
      of violence, including online threats, to local law enforcement, FBI Field Offices,
      or your local Fusion Center. Call 911 in case of emergency.

      If you know someone who is struggling with mental health issues or may pose a
      danger to themselves or others, seek help.


   13 . The defendant DON SHIPLEY, CAROL DIANE BLAZER SHIPLEY, and
        EXTREME SEAL EXPERIENCE, LLC willfully and knowing have violated
        the invasion of privacy
      An intrusion upon seclusion claim in Maryland must allege the following three elements:
      Intentional intrusion;
      Into a private place, or affairs of another; and
      Such intrusion would be highly offensive to a reasonable person. Secret audio or video
      recording of a person without consent. Placing a Person in a False Light
      A claim for placing a person in a false light in Maryland must allege the following three
      elements:
      That the defendant gave publicity to a matter concerning another that places the other
      before the public in a false light;
      That the false light in which the other person was placed would be highly offensive to a
      reasonable person; and
      That the actor had knowledge of or acted in reckless disregard as to the falsity of the
      publicized matter and the false light in which the other would be placed.
      The purpose of this cause of action is to redress publication of false facts that falsely
      characterize a person in a highly offensive manner. The publication must be sufficiently
      broad such that the facts become public knowledge- it is not enough for a defendant to
      communicate a false fact to a single individual or even a small group of people.
      Example of False Light Invasion of Privacy
      A false light claim arises, for example, if a reporter publishes an article about an
      individual that falsely states that they have been arrested in the past or that they have
      children out of wedlock, when the reporter either knew the information was false or
      published the article with reckless disregard for the truth. Such a claim can also be
      asserted if such false information is posted on social media.
      20-203 .

      Invasion of privacy; trespass or intrude upon a person's solitude.

        •   Any person, firm, or corporation that trespasses or intrudes upon any natural person
            in his or her place of solitude or seclusion, if the intrusion would be highly
            offensive to a reasonable person, shall be liable for invasion of privacy. An invasion
            of privacy pursuant to this section is one consisting solely of an intentional interference
            with the plaintiffs interest in solitude or seclusion, either as to his or her person or
8:24-cv-00359-JFB-PRSE         Doc # 1     Filed: 09/13/24      Page 21 of 243 - Page ID # 21




            private affairs or concerns, of a kind that would be highly offensive to a reasonable
            person. Whipps Land & Cattle Co. v. Level 3 Communications, 265 Neb. 472,658 N.W.2d
            258 (2003).
   •   trutner v. Dispatch Printing Co., 2 Ohio App. 3d 377 (Ohio Ct. App., Franklin County
       1982).
   •   A person has an actionable right to be free from the invasion of privacy. Black v.
       Aegis Consumer Funding Group, Inc., 2001 U.S. Dist. LEXIS 2632 (S.D. Ala. Feb. 8,
       2001 ). An actionable invasion of the right of privacy is the unwarranted
       appropriation or exploitation of one's personality, the publicizing of one's private
       affairs with which the public has no legitimate concern, or the wrongful intrusion
       into one's private activities in such a manner as to outrage or cause mental
       suffering, shame or humiliation to a person of ordinary sensibilities.
   •   It also includes, usually by statute, a Constitutional right to be left alone from
       governmental intrusion into one's private affairs, though the rights and the
       needs of the government to provide protection to society are balanced.
   •   This article shall review the basic concepts of the rights to privacy.
The right of privacy is:

   •   the right of a person to be free from unwarranted publicity,
   •   the unwarranted appropriation or exploitation of one's personality,
   •   the publicizing of one's private affairs with which the public has no legitimate
       concern, or
   •   the wrongful intrusion into one's private activities in such manner as to outrage
       or cause mental suffering, shame or humiliation to a person of ordinary
       sensibilities.

See Hagin v. Cottingham, 533 So. 2d 525 (Ala. 1988).
The right of privacy has two main aspects:

   •   the general law of privacy, which affords a tort action for damages resulting
       from an unlawful invasion of privacy; and
   •   the constitutional right of privacy which protects personal privacy against
       unlawful governmental invasion.

Invasion of privacy is a tort based in common law allowing an aggrieved party to bring
a lawsuit against an individual who unlawfully intrudes into his/her private affairs,
discloses his/her private information, publicizes him/her in a false light, or appropriates
his/her name for personal gain.
8:24-cv-00359-JFB-PRSE      Doc # 1    Filed: 09/13/24   Page 22 of 243 - Page ID # 22




  14. The defendant DON SHIPLEY, CAROL DIANE BLAZER SHIPLEY, and
      EXTREME SEAL EXPERIENCE, LLC. Knowing and willfully have caused
      emotional stress on the plaintiff OVER THE PAST 6 YEAS AND CURRENT
      TIMES
  15.        The defendant DON SHIPLEY, CAROL DIANE BLAZER SHIPLEY,

     and EXTREME SEAL EXPERIENCE, LLC. Knowing and willfully have

     caused Economic loss OVER THE PAST 6 YEARS AND CURRENT TIMES

  16. The defendant DON SHIPLEY, CAROL DIANE BLAZER SHIPLEY, and
      EXTREME SEAL EXPERIENCE, LLC. Knowing and willfully have caused
      Punitive damages OVER THE PAST 6 YEARS AND CURRENT TIMES
  17. The defendant DON SHIPLEY, CAROL DIANE BLAZER SHIPLEY, and
      EXTREME SEAL EXPERIENCE, LLC. As they say are military and represent
      the military should know the laws of military code Hearsay is a statement, other
      than the one made by the declarant while testifying at the trial or hearing,
      offered in evidence to prove the truth of the matter asserted.'' MRE 801 (c).
      These statements are generally inadmissible due to their lack of reliability.
  18. The defendant DON SHIPLEY, CAROL DIANE BLAZER SHIPLEY, and
      EXTREME SEAL EXPERIENCE, LLC as they attack and deflation of
      character to the plaintiff and the defendants are military violated Article 133 of
      the UCMJ, which pertains to "conduct unbecoming an officer and a
      gentleman."
  19.         The defendant DON SHIPLEY, CAROL DIANE BLAZER SHIPLEY,
      and EXTREME SEAL EXPERIENCE, LLC as they attack and deflation of
      character to the plaintiff and the defendants are military violated ould be
      violating the Article 134 The elements of crime that should hold true, for the
      accused to be guilty, are as follows:
      The accused person should have actually made the alleged statement
      The statement should have been made in public
      The statement made was disloyal to the United States
      The statement promotes or encourages the troops or the civilian populace to be
      disloyal, hostile or both towards the United States
      The statement impairs and/or interferes with the morale, the discipline or loyalty
      towards the United States, of a member or multiple members of the US armed
      forces.
      The nature of the statement was such that it brings upon discredit to the US
      armed forces or it disrupts the discipline and the good order of the armed forces.
  20. The defendant DON SHIPLEY, CAROL DIANE BLAZER SHIPLEY, and
      EXTREME SEAL EXPERIENCE, LLC as they attack and deflation of
      character to the plaintiff and the defendants are military violated DOD
8:24-cv-00359-JFB-PRSE     Doc # 1    Filed: 09/13/24   Page 23 of 243 - Page ID # 23




      INSTRUCTION 6400.06 DOD COORDINATED COMMUNITY RESPONSE
      TO DOMESTIC ABUSE INVOLVING DOD MILITARY AND CERTAIN
      AFFILIATED PERSONNEL for over 6 years have been serial stalking and
      targeting the plaintiff willfully
  21.        The defendant DON SHIPLEY, CAROL DIANE BLAZER SHIPLEY,
      and EXTREME SEAL EXPERIENCE, LLC as they attack and deflation of
      character to the plaintiff and the defendants are military violated The "No
     Disclosure Without Consent" Rule
     "No agency shall disclose any record which is contained in a system of
     records by any means of communication to any person, or to another agency,
     except pursuant to a written request by, or with the prior written consent of,
     the individual to whom the record pertains [subject to 12 exceptions]." 5
     U.S.C. 552a(b). did not have any consent to record post or take videos or
     pictures of and from the plaintiff

  22. The defendant DON SHIPLEY, CAROL DIANE BLAZER SHIPLEY, and
      EXTREME SEAL EXPERIENCE, LLC as they attack and deflation of
       character to the plaintiff and the defendants are military violated Army
       Regulation 600-20 prescribes online misconduct as punitive, making online
       behaviors that violates the Army's online misconduct policy punishable under
       the UCMJ.
  23 . The defendant DON SHIPLEY, CAROL DIANE BLAZER SHIPLEY, and
       EXTREME SEAL EXPERIENCE, LLC as they attack and deflation of
       character to the plaintiff and the defendants are military violated
8:24-cv-00359-JFB-PRSE       Doc # 1   Filed: 09/13/24   Page 24 of 243 - Page ID # 24




      PRAY OF RELIEF
  •   The plaintiff pray of the following relief federal law emergency arrest
      warrant on the defendants for the safety of plaintiff
  •   The plaintiff pray of the following relief federal laws ADA rights violated
      for interpret by law
  •   ) The plaintiff pray of the following relief human rights violations by law
  •   The plaintiff pray of the following relief of all criminal actions maximum
      to full extent of the laws
  •   The plaintiff pray of following relief full compensation of the laws
      emotional stress
  •   The plaintiff pray of the following relief of an awarded of compensatory
      damages in the amount shown according of proof by law
  •   The plaintiff pray of the following relief of such further and other relief as
      this court deems just and proper by law
  •   The plaintiff pray of the following relief of of punitive Damages by law
  •   The plaintiff prays of following relief to have the video blog shut down
      permanently for the sake of other victims
  •   The plaintiff pray of the following relief of under FBI/BIA to Arrest the
      defendants that allowed the hit and run hate crime
  •   The plaintiff pray of the following relief of mental abuse for she suffers
8:24-cv-00359-JFB-PRSE        Doc # 1     Filed: 09/13/24    Page 25 of 243 - Page ID # 25




   •   The plaintiff pray of the following relief of to pay all medical costs of
       there reasonability and any full recovery needs met by the court by law
   •   The plaintiff pray of the following relief to have proper justice by a judge
       to see that the ada laws apply to this case knowing and willing to fair
       hearing and trial by law
   •   ) The plaintiff pray of the following relief for help of trauma therapy for
       the plaintiff by law
   •   The plaintiff pray of the following relief of to pay of loss wages while
       haven to miss work of all three jobs and loss of clients by law
   •   The plaintiff pray of the following relief civil rights violations by law
   •   The plaintiff pray of the following relief LGBTQA rights violation by law
   •   The plaintiff pray of the following relief FIOA request non compliance by
       law
   •   The plaintiff pray of the following relief invasion. Of privacy
   •   The plaintiff pray of the following relief by law of the judge see fit for
       anything the courts jury has deemed to see for the past 6 years and
       more
   •   The plaintiff pray of the following relief by law to shut down the
       company video blog
   •   The plaintiff pray of the following relief cease and desist laws violated
       bylaw
   •   The plaintiff pray of the following relief intimidation, retaliation, bias,
       hate, sex, gardener, by law of Maryland, Virginia, Nebraska state laws
       and federal laws the judge see fit
   •   The plaintiff pray of the following relief for homeland security to take all
       legal actions by law on



                     Witness or Exhibits
The defendant has history of being sued on similar actions and tries to lie or get out of we
as the courts to find this a proof and issues arrest warrants
           1. https://www.reddit.com/r/navyseals/comments/14r06wg/class 233 seal cl
              aimshipley said no but/
8:24-cv-00359-JFB-PRSE     Doc # 1     Filed: 09/13/24    Page 26 of 243 - Page ID # 26




        2. https://www.casemioe.com/judgement/us/59145a32add7b049341 d1 db4
        3. https://casetext.com/case/bernath-v-don-shipley-carol-diaoe-blazer-
           shipley-extreme-seal-experieoce-llc
        4. https://caselaw,findlaw.co m/cou rt/nc-court-of-a ppeals/1984668. html
        5. https://casetext.com/case/bernath-v-youtube-llc
        6. https://videos.extremesealexperience.com/movie Phony-Navy-Seal-Of-
           The-Week-Robert-ELUott-The-Don-Shipley-Slandered-My-Character-While-1-
           Was-lo-Prison-For-Sex-Crimes-Phony-Seal
        7. https://videos.extremesealexperience.com/movie Phony-Navy-Seal-Phony-
           Army-Ranger-Of-The-Week-Robert-Christiao-Elliott-The-Total-Nut-Job-
           Phony-Seal
        8. https://videos.extremesealexperience.com/movie Phony-Navy-Seal-Of-
           The-Week-Jedi-Master-Mioister-Yukie-Lola-Sota-Elliott-Nashiala
        9. https://videos.extremesealexperieoce.com/movie Phony-Seal-Mioister-
             Yukie-Rears-Her-his-Ugly-Head-Agaio-And-Defending-A-Commaoding-
             Officer
        10. Please see extra pictures of proof as well as attacks that the defeandants
             has caused
        11 .
8:24-cv-00359-JFB-PRSE                                                        Doc # 1             Filed: 09/13/24                        Page 27 of 243 - Page ID # 27




                                                                                                        ...                +·

         < -r-~ Letty0Barker                 15h •
                                                                    H ello.       You have reached the City of
                                                                                  Chesapeake Police and fire non-
    Hi, this is Officer Montague with                                             emerge ncy line. Chesapeake Police
    Agings Police Department. Hi , so , uh,                                       Fire and Rescue Dispatcher Wheeler,
    is this Yuki? Did I sa y that right'!                                         how may I h e lp you?

                                                              Yes, Sir.                           Yes, l li\'C out in Omalrn. NE.
                                                                                                  And I've alrcad)' mod e a hate
                                                                                                  cri.m cs PL \ s lash cer eal
                                    Yes, you did. S ir. 1 am. J us t                              stocking.    'M M reports out
                                    hold on .                                                     he r e nnd the indjviduals arc
                                                                                                  linked into your guys estate
    OK, so.                                                                                       a nd I need to make one iLliii we ll
                                                                                                  with you gu )'s.




                                                                                                     David Chamnes5
   ""'1<tr•10al'!-.c-aa1..n~Df~t t-'IP'--'Qligl"lf""
   '-'l'Sc•--i;.-\~~~-
   '-"'• I     «l)IQl",ngbo,.Aa,Jr-ol(lm.,o'l,l,...RY
   £..,.,, tk5CIAIMEJI l,.,.,.• .,,...v ""   n~a\d
                                                        •                                                          ...........
   ""'""''°,.,.,.:,t ·"""l"'~ournc'C!uo•••tt•o,A
   .,,...,
                                                            Jessica Colton
   Oroupactm'l y                                            l "IOY~~'OheOtunll•llf''•-r..tyolMd

                                                            """"'
             f0 Like                             Q Comment                              (9 send                     t;) Share



       1 share

                                 David Chamness
                                 Ok Yuki we know it's you or should I call you
                                 Robert
                                  9h          Like          Reply

                                 Mike Holman
                                  Robert , stop with all your fake profiles.
                                  9h          Like          Reply

                                  Mary Petty
                                  Does this include being a sex offender on bobs
                                  part?
                                  9h


                                  Write a comment.. .
8:24-cv-00359-JFB-PRSE                   Doc # 1   Filed: 09/13/24         Page 28 of 243 - Page ID # 28




              9:40


    < C'~           Letty Barker
                    Jul 26 • 0
                                                                     •••

    1 share


              Joshua Barwan
              Seen videos about these tyrants. I want to help
              get these gang banging cops off the streets.
              Funny how the government create a gang and
              calls it legal lmao. They literally act like gangs
              and just pick on and beat on us as citizens
              everywhere in the world yet they never face
              hardly any consequences as we would for doing
              the exact same shit. You would think with all the
              criticism going around and all the videos that
              they would straighten up a bit, but it only seems
              like they are getting worse. We need to hold
              these tyrants accountable for all of their actions
              and they need to be treated like anybody else. I
              think if the entire world gets behind one another,
              we can stop this insanity and create something
              better and more justified. I'm tired of seeing all
              these deaths in wrongful convictions and I'm
              sure most others are as well. Sorry you're going
              through this and I hope you get Justi. .. See more
               5w    Like    Reply

              Mary Petty
               Does this include you being a sex offender bob?
              1h     Like   Reply

                     Write a reply ...




     @         Write a comment ...
8:24-cv-00359-JFB-PRSE                Doc # 1   Filed: 09/13/24      Page 29 of 243 - Page ID # 29




    < C'=:,      Letty Barker
                 Apr 16 • 0
                                                               ...
          Yukie Soto-Elliott
          Apr 11 • 0

     Right side befor
     And
     Left side after




     r0 Like           Q Comment           (9 Send      t;) Share

            Mary Petty
            Yep. That's a sex offender alright.
            8h    Like    Reply

                  Write a reply ...



     @      Write a comment. ..
8:24-cv-00359-JFB-PRSE          Doc # 1     Filed: 09/13/24       Page 30 of 243 - Page ID # 30




           7:20


    <             user3749617951583                    p ...




                    user3749617951583
                          @charleechaplin17
                     179 following • 82 followers


                            Today 4:38 PM


           Stop shopping at baby gap and get a
           real shirt maybe grow up too seek
           some help weirdo




            user3749617951583 sent you a
                  message request
          We ask that you review these requests carefully.
         Accepting this request will let you reply to this chat
        immediately. If you delete, this chat will be removed
                   from your message requests .


         Report                Delete                 Accept
8:24-cv-00359-JFB-PRSE      Doc # 1   Filed: 09/13/24    Page 31 of 243 - Page ID # 31




      Connecting 911 call


      Connected to CA No-415


      Dialing911
      (Ringing)(Ringing)(Ringing)(Connected)


      Connecting to the 911 operator.
     Phone ringing. 911, police, fire or
     medical?

                                               Police.

      Okay, for what address?

                   Before I give the address, I'll
                   send you the supervisor
                   present with them due to the
                   fact that actually I was
                   assaulted by a Bellevue police
                   officer. My name is Yuki Soto
                   Elliott. I just need to make sure
                   for my safety and their safety




                               i        i
       Call      Share      Lock      Delete     Block
8:24-cv-00359-JFB-PRSE             Doc # 1    Filed: 09/13/24   Page 32 of 243 - Page ID # 32




    <          firefighter navy seal fan club




    Firefighter Navy Seal Fan Club
    I "Robert" Vukie Lola Elliott  -
    Private group • 203 members

    About
    Welcome to official fan club of CERT Captain Firefighter
    Navy Seal where one can follow RSO Commander "Yukie
    Lola Elliott" exploring boundaries of Omaha Nebraska.
    Enjoy. DISCLAIMER: There are Yukie Bikini photos and
    this group is not sanitized so don 't cross over without
    knowing .

        Info        Related groups


     Group activity

         6 new posts today

         203 total members
         + 19 in the last week

    r    Created about 8 months ago




                                 Join group
8:24-cv-00359-JFB-PRSE          Doc # 1    Filed: 09/13/24   Page 33 of 243 - Page ID # 33




      Call connecting ...


      Connected to ASRNo.10036


      Dialing (757) 382-6161
      (Ringing)(Ringing)(Ringing)(Connected)


    You have reached the City of
    Chesapeake Police and fire non-
    emergency line. Chesapeake Police
    Fire and Rescue Dispatcher Wheeler,
    how may I help you?

                     Yes, I live out in Omaha, NE.
                     And I've already made a hate
                     crimes PIA slash cereal
                     stocking. UMM reports out
                     here and the individuals are
                     linked into your guys estate
                     and I need to make one as well
                     with you guys.

    Umm, just give me one moment here.
    What do you mean? What do you
    m<P!.'.ln hu lh, lr<P.rl?



                    c!J         i
       Call       Share         Lock      Delete    Block
8:24-cv-00359-JFB-PRSE     Doc # 1   Filed: 09/13/24   Page 34 of 243 - Page ID # 34




               Hey your a fucken fake ass military
               person haha Don Shipley links do
               work we found your fagot ass

               Your a dead mother fucker Don has
               gather us all to kill your amd make
               sure ur rapist ass will not
               Live your wife deserve better ur a
               fucked freak a monster

               I'm glad Don posted your address
               And company's and all your
               information.

               What give you the right mother
               fucker your a dead person when I
               see you I'm gona vidoe it and send it
               to don me blowing your fucken head
               off hahahaha and I'll rape
               Your fagot ass and show the world
               your just a. Fucken guy no a woman
               and your sick as mental health
    -r-=:.     issues freak

                             You restricted Letty
             They can't see when you're online or when you've read
                               their messages.


                                 Un restrict
            8:24-cv-00359-JFB-PRSE
Is there medication for this? : r/First ResponderCringe   Doc # 1    Filed: 09/13/24             Page 35 of 243 - Page ID # 359/12/R6, 10:56 PM




                      r/FirstResponderCringe • 3 days ago
                      Affectionate_Self396
                                                                             ...
    Is there medication for this?
     Whacker/Chaser POV




                           (J 113              .Q           ~ Share



    (+       Add a Comment)


    Sort by:      Best v             Q Search Comments


             imamidgetcatcher • 3 days ago

             That is 100% an old Army Class A shirt with shit
             glued to it. Da fuq.

              ◊11{}              CJ Reply           .Q. Awa rd      ~ Share

              c+) 1 mnrP. rP.nlv

https://www.re ddit.com/r/FirstResponderCringe/comments/1fdbcys/is_there_medication_for_t his/                                         Page 1 of
           8:24-cv-00359-JFB-PRSE
Is there medication for this? : r/FirstResponderCringe   Doc # 1      Filed: 09/13/24            Page 36 of 243 - Page ID # 369/12/R6, 10:56 PM




             Grey_Navigator • 3 days ago

             Some more pictures of her cosplaying, for
             those of you that for some reason feel the need
             to defend this loon. (Yes that's her personal
             car)

             https:/f.www.instagram.com/reelf.C4q44Lwu6zi/.
             ?utm source=ig_web_coQy_link

     0       'If 42     {J;,      (J Reply          .Q. Award        ~ Share


                    Affectionate_Self396 OP • 3 days ago




                    'If 15      {J;,    (J Reply          .Q. Award
                    LongjumpingKiwi5980 • 3 days ago

                    OH SHIT the plot thickens

                    'If 9      {J;,    (J Reply          .Q. Award        ~ Sh

             0 10 more replies

     -       unvaccinatedmuskrat • 3 days ago

             Hypocrisy is real, I love that you guys are kind
             and defending the person in this post but
             destroyed the person in this one
             httQs:/J.www.reddit.com/.r/.FirstResQonderCringg
             /12/.lbxl5rl56N

     0       'If 23     {J;,      (J Reply          .Q. Award        ~ Share

                    4QuarantineMeMes • 3 days ago

                     It's unreal how different the comments

https ://www.reddit .com/r/FirstResponderCringe/comments/1fdbcys/is_there_medication_for_this/                                         Page 2 of
             8:24-cv-00359-JFB-PRSE
Is th ere med icat ion for thi s? : r/FirstResponderCringe   Doc # 1      Filed: 09/13/24         Page 37 of 243 - Page ID # 379/1 2/R 6, 10:56 PM

                     are.

                      {} 14 ◊             CJ Reply            .Q. Award
                      0 1 more reply
              0 1 more reply

              Loki_8888 • 3 days ago

              lsn ' t impersonating a federal law enforcement
              officer a federal crime? He is wearing a patch
              of homeland security? Or is he a member of
              FEMA?

      0       ◊ 17 ◊              CJ Reply             .Q. Award       ~ Share


                      Affectionate_Self396 OP • 3 days ago

                      He wears a lot of different patches and
                      medals. He works at Freddie's Burger joint
                      here in Omaha. He used to wear a Purple
                      Heart, Army Ranger with Navy Seal
                      medals.

                      ◊ 21 ◊               CJ Reply           .Q. Award
              0 2 more replies

              WarCrimeWhoopsies • 3 days ago

              Lmao. I knew this sub was gonna hate this!
              Good one OP

              {} 16 ◊              CJ Reply             .Q. Award      ~ Share



              Gasmaskguy101 • 3 days ago

              Mental case.

              {} 17 ◊              CJ Reply            .Q. Award       ~ Share



              Submarine_Pirate • 3 days ago

              This sub defending everything it lambasts on a
              daily basis just because it 's a nonbinary person

https ://www.reddit .com/r/FirstResponderCringe/comments/1fdbcys/is_there_medication_for_t his/                                          Page 3 of
            8:24-cv-00359-JFB-PRSE
Is there medication for this? : r/FirstResponderCringe   Doc # 1      Filed: 09/13/24           Page 38 of 243 - Page ID # 389/12/R6, 10:56 PM

             llll::i lllll~ ::illlll


     0 \f 14 ◊                     Q Reply         ,Q. Award         ~ Share


            e        unvaccinatedmuskrat • 3 days ago

                     Its reddit what did you expect

                     \t 6 ◊            Q Reply           ,Q. Award       ~ Sh



             Helassaid • 3 days ago

             Regardless of your feelings towards the
             LGBTQIA+ community, nobody wants this
             person showing up on their scene, bossing
             people around, or potentially speaking to the
             press on your behalf.

             What even is a CERT captain and why is this
             person wearing a FEMA patch opposite a split
             flag/star of life patch? With an actual tie? I'm
             confused what sort of organization this even
             could be, and the multiple different, parallel
             insignias are ... questionable.

     0 \t 14 ◊                     Q Reply          ,Q. Award        ~ Share


                     Affectionate_Self396 OP • 3 days ago

                     Very insightful. The post has nothing to do
                     with the LGTBQ+ community. But some
                     are making it about that. It's about an
                     individual who presents themselves as
                     something they're not. This person also
                     presents themselves as a military veteran
                     and Navy Seal. They never served

                     \f 9 ◊            Q Reply           ,Q. Award       ~ Sh



             Mental-Show-7862 • 3 days ago

             Minding your own is a pretty effective med for
             this type of situation

             \t 7 ◊              Q Reply          ,Q. Award        ~ Share

             0 9 more replies
https://www.reddit .com/r/FirstResponderCringe/comments/1fdbcys/is_there_medication_for_this/                                         Page 4 of
             8:24-cv-00359-JFB-PRSE
Is there medication for this? : r/FirstResponderCringe   Doc # 1       Filed: 09/13/24           Page 39 of 243 - Page ID # 399/12/R6, 10:56 PM



             Crafty-Pin-6051 • 3 days ago

             Nope unfortunately that's a freak

             ◊ 8 {}            CJ Reply           .Q. Award        R Share

    0        bbq36 • 3 days ago

             Sorry but as soon as he/she/they/them puts on
             the lipstick he/she/they/them can do nothing
             wrong here on Reddit! So how dare you!

             ◊ 8 {}            CJ Reply           .Q. Award        R Share

             Roaming-Californian • 3 days ago

             Nothing that won't get me banned .

             ◊ 2 ◊             CJ Reply           .Q. Award        R Share

             Mysterious-Track679 • 2 days ago

             He appears to be a sex offender.

             https://.unlimitedcriminalchecks.com/.Profile/1
             id=NE_SEX_4699

     0       ◊ 2 ◊             CJ Reply           .Q. Award        R Share
                    Mysterious-Track679 • 2 days ago

                    And has an impersonating a public servant
                    charge

                     https://.lockedup.wtf/.inmate.QhQ?
                     id=10039322045

                     ◊ 2 ◊             CJ Reply          .Q. Award       R Sh
                     0 1 more reply
                     RoughTelephone • 1 day ago

                    Shocking Revelations for $500 please!

                     ◊ 1 ◊            CJ Reply           .Q. Award
https ://www.reddit .com/r/FirstResponderCringe/comments/1fdbcys/is_there_medication_for_this/                                         Page 5 of 8
              8:24-cv-00359-JFB-PRSE
Is there medication for this? : r/FirstResponderCringe    Doc # 1         Filed: 09/13/24           Page 40 of 243 - Page ID # 40
                                                                                                                                9/12/R6, 10:56 PM




             Medellin2O24 • 2 days ago

             Lmao is this the POS who got exposed for
             pretending to be a navy seal army ranger
             Mossad agent. And whatever else

                               n    oeply         .Q. Award         R Share

             Grey_Navigator • 3 days ago

             Loving the captain bars, is she actually working
             for a real department? That uniform looks
             homemade.

                               Q Reply            .Q. Award         R Share
                    Affectionate_Self396 OP • 3 days ago

                    No she doesn't. This individual will go into
                    McDonald's demanding military discount
                    wearing BDU's. Purple Hearts .

                    'tf 14 ◊            Q Reply          .Q. Award
                    0 1 more reply
                    Affectionate_Self396 OP • 3 days ago




                    'ti 9 ◊           Q Reply            .Q. Award
                    0 4 more replies

                Q         -    r/FirstResponderCringe          O      Search in r/FirstResponderCringe

             He will be in charge of the FEMA re-education

https ://www.reddit .com/r/FirstResponderCringe/comme nts/1fdbcys/is_ there_medication_for_ this/                                       Page 6 of 8
              8:24-cv-00359-JFB-PRSE
Is there medication for this? : r/FirstResponderCringe   Doc # 1         Filed: 09/13/24           Page 41 of 243 - Page ID # 41
                                                                                                                               9/12/R6, 10:56 PM


             camps . I am a woman he wil l cry as they shock
             your nipples with a car battery.                                             r/FirstResponderCri ...
             {? 1 ◊           CJ Reply           .Q Award          ~ Share
                                                                                          FirstResponderCringe
                                                                                          Tmfms. Hit it hard from the yard brnthers.
             TimeManagement6862 • 3 days ago                                              Tow Lives Matter

                                                                                          123K             20             Top2%
             You're just an ass, leave them be
                                                                                          Members               Online    Rank by size ~
             {? -1 ◊            CJ Reply           .Q Award         ~ Share



             U5e4n4m3 • 3 days ago
                                                                                        J     r/funny

                                                                                       Thanks for clarifying.

     0                           Round_Concentrate88                            e
                                u/Round_Concentrate88
                                ~ Apr 22, 2021                                         932 upvotes • 23 comments


                   90
                   Post karma
                                      2,095
                                      Comment karma
                                                                                       e      r/todayilearned
                                                                                 SI
                                                                                       TIL the Chang Tang region,
                   What is karma?                                                      which is spread over 1600 k ...

                                         () Chat                                       325 upvotes • 12 comments

     ~
                                                                                              r/LoLPHSubredd it
             Can we guess who he's voting for?
                                                                                       Is there a cure for this?
     0 'il O ◊                 CJ Reply           .Q Award          ~ Share


                     Mysterious-Track679 • 1 day ago

                     He can't, he's a sex offender

                     {? 3 ◊            CJ Reply          .Q Award

      0      [deleted] • 3 days ago



      0      Schmuck1138 • 3 days ago



      0      Lucky-Safe-9504 • 3 days ago



      (+)    11Unitial8986 • 3 days aqo

https ://www.reddit.com/r/FirstRespon derCringe/comments/1fdbcys/is_there_me dication_for_this /                                           Page 7 of 8
            8:24-cv-00359-JFB-PRSE
Is there medication for this? : r/FirstResponderCringe   Doc # 1        Filed: 09/13/24             Page 42 of 243 - Page ID # 429/12/R6, 10:56 PM




     0       unfinishedtoast3 • 3 days ago



     0       AuNanoMan • 3 days ago



     0       [deleted] • 3 days ago



     0       LongjumpingKiwi5980 • 3 days ago



     0       Round_Concentrate88 • 3 days ago




https ://www.reddit .com/r/FirstResponderCringe/cornrnents/1fdbcys/is_there_rnedication_for_this/                                         Page 8 of 8
               8:24-cv-00359-JFB-PRSE
Bellevue, OK : r/F irstResponde rCringe               Doc # 1        Filed: 09/13/24   Page 43 of 243 - Page ID # 43
                                                                                                                   9/12/R 6, 10:55 PM




                      r/FirstResponderCringe • 2 mo. ago
                      Ptards_Number_1_Fan
                                                                           ...
    Bellevue, OK
    Yuki likes to pretend they're a first responder and a
    member of the press .:.:.




      ◊ 251 {J                                           ~ Share



   (+        Add a Comment)


    Sort by:      Best    v          Q Search Comments


     'i      TheUnworthy90 • 2 mo. ago

             The hell am I lookin at here ?

     0       ◊ 83 {J             CJ Reply      .Q. Award          ~ Share

            <
https://www.reddit .com/r/FirstResponderCringe/comments/1e4wOg2/bellevue_ok/                                                 Page 1 of 7
               8:24-cv-00359-JFB-PRSE
Bellevue, OK : r/FirstResponderC ringe                                                 Doc # 1    Filed: 09/13/24   Page 44 of 243 - Page ID # 44
                                                                                                                                                9/12/R6, 10:55 PM



                         Ptards_Number_1_Fan OP • 2 mo. ago

                         THIS

                         ◊ 94-!}                          Q Reply                      .Q Award
                         0 34 more replies
               0 1 more reply

               TheBigChungoos • 2 mo. ago

               Ah yes, the PRESS's "CERT" team, for when
               those stories get a little too serious .

               ◊ 43-!}                       Q Reply                           .Q Award          P Share

   . . Ptards_Number_1_Fan OP • 2 mo. ago

                M,1', Muq~hat ot re10 .. t•d Y~1'- f' S •    , rt' "dct d 1nd
                bdt\.; OP CERT firpf1ghter pat~ot )', u"~:erco,Pr F-edf,
                Pmployl'P
                C1ed1t to JN for f1nrj1rHJ tt11', <jN'l




               SOTO-ELLIOTT. YUKIE LOLA
               .,
               10039322CMS

               202-4--04-30 13:22:00
               No
               1
               2024-0S-01 1S:22:00




     0         ◊ 30 ◊                        Q Reply                           .Q Award          F) Share


           •              Ptards_Number_1_Fan OP • 2 mo. ago

                                                                               Coun
                                Agency       Sever ity     DHCription
                                                                               Dat e

                                                              Aestsl
                               BELLEVUE
                                                            arrest ls,
                                 POllCE
                                                             otfen'Se

                               BELLEVUE                    Obstruct ,1
                                POL ICE                   peace offw:er

                               BELLEVUE                   Impersonate a
                                                J
                                 POUCE                    publrts~rvam

                               BELLEVUE
                                                          C.ir.-6ess dtMn
                                 POLICE


                                   C.ue •        Bond Amount             Bond Type

                                BP24-144S3          SS.000.00          '°'
                                BP24-t44S3          SS,00000           tttll




htt ps ://www.reddit .co m/ r/Fi rstRes pond erCri nge/comment s/1e4wOg2/bellevue_ok/                                                                    Page 2 of 7
              8:24-cv-00359-JFB-PRSE
Bellevue, OK : r/FirstResponderCringe                             Doc # 1     Filed: 09/13/24   Page 45 of 243 - Page ID # 45
                                                                                                                            9/12/R6, 10:55 PM



                       BP24-144S3        SS,000.00   '°'
                       BP24 .1 44 53     SS.000.00   IO'lo




                   ◊ 12 ◊                    (J Reply            .Q Award
            0 5 more replies

            58_ • 2 mo. ago

            "My name is Jedi Master Minister Yukie Lola
            Nashaia Soto-Elliott".... And from there, it gets
            crazy.

            ◊ 27 ◊                     (J Reply              .Q Award       R Share
            0 1 more reply

            FDI_Blap • 2 mo. ago

            Now this is quality cringe .

            ◊ 23 ◊                     (J Reply              .Q Award       R Share

            mblergh • 2 mo. ago

            This isn't your average every day autism, this is
            advanced autism

            ◊ 45 ◊                     (J Reply               .Q Award      R Share
            0 4 more replies

            GalvanizedRubbish • 2 mo. ago

            Sometimes I feel inadequate in my field, but
            then I remember people like this exist.

            ◊ 9 ◊                  (J Reply                  .Q Award    R Share

            JoePikesbro • 2 mo. ago

             For only $59.50 you too can be a Jedi Master
             Minister!

     0       ◊ 9 ◊                 (J Reply                  .Q Award    R Share

https ://www.reddit .com/r/FirstResponderCringe/comments/1e4wOg2/bellevue_ok/                                                        Page 3 of 7
               8:24-cv-00359-JFB-PRSE
Bell evue, OK : r/F irstResponderCringe                          Doc # 1           Filed: 09/13/24   Page 46 of 243 - Page ID # 46
                                                                                                                                9/12/R6, 10:55 PM




                        Becaus789 • 2 mo. ago

                        Shouldn't it be 58.50 credits?

                        ◊ 5 ◊              CJ Reply             Q Award             p Sh
                        0 2 more replies

             quixote09 • 2 mo. ago

             This is some Step Brother quality stuff right
             here. TYFYS , •.

             ◊ 6 ◊              CJ Reply          Q Award              p Share

     fJ      Mechanic_On_Duty • 2 mo. ago

             Shouldn't that be a red flag?

             ◊ 5 ◊              CJ Reply          Q Award              p Share

             Livin_ln_A_Dream_ • 2 mo. ago

             It's the shoes that piss me off! I mean what
             EMT or PRESS would ever wear those to work!
              ..:     we are doomed

             ◊ 5 ◊              CJ Reply          Q Award                 p Share

             breyewhy • 2 mo. ago

             $165 is cheap for w Jedi Master, I wouldn't
             settle for anything less than $200 seems like a
             scam, unless ..... its those dang Jedi mind tricks
             again. Or a stroke hopefully they can help me
             and put it in the news.

             ◊ 5 ◊              {J Reply          Q. Award                p Share

             bbqmb • 2 mo. ago

              I'm just gonna leave this here ...
              httRs:/f.www.instagram.com/reelf.C4g44Lwu6zi/.
              ?igsh=e HRnZ jF0 MHpvYmJ 5
              A     .     n     ,......,   - .        r"\   -              ..,._   -·
https ://www.reddit.com/r/First Re sponderCr inge/comments/1e4wOg2/bellevue_ok/                                                          Page 4 of 7
                   8:24-cv-00359-JFB-PRSE
Bellevue, OK : r/ Fi rstRe sponderCri nge                  Doc # 1          Filed: 09/13/24   Page 47 of 243 - Page ID # 47
                                                                                                                         9/1 2/R6, 10:55 PM


               v    q   v        l,,J Kep1y      W Awara             hi :::,nare

               0 1 more reply

               Usual-Tennis-8376 • 2 mo. ago

               Nice ass

               ◊ 3      ,0.      CJ Reply        .Q. Award            F) Share

               0 1 more reply

               jaslo1324 • 2 mo. ago

               There is a lot going on here. That is all .

               ◊ 3 ◊             CJ Reply        .Q. Award            F) Share


        .. •
       .:-..   PossibleFireman • 2 mo. ago

               M they need to be banned legally from wearing


                                                 .Q. Award            F) Share


     r::J Sufficient_Report319 •               2 mo. ago

               This feels like Chris Chan all over again

               ◊ 3 ,0.           CJ Reply        .Q. Award            F) Share


               outlaw-chaos • 1 mo. ago

               This is the person who claims to be born HOH
               and also a veteran while being Sitting Bull 's
               great great grandchild when it's proven he only
               has 4 living descendants. Yukie is a
               pathological liar on many levels .

               ◊ 3 ◊             CJ Reply        .Q. Award            F) Share


               Affectionate_Self396 • 9 days ago

               Robert Christian Elliot, who he was before
               Yukie. Nothing but stolen va lor. Don Shipley

https ://www.redd it.co m/ r/Fi rstRespo nderCri nge/comments/1e4wOg2/bellevue_ok/                                                 Page 5 of 7
               8:24-cv-00359-JFB-PRSE
Bellevue , OK : r/FirstResponderC ringe                                                   Doc # 1       Filed: 09/13/24       Page 48 of 243 - Page ID # 48
                                                                                                                                                         9/12/R6 , 10:55 PM


             exposea YuKIe.

        0    {}3{}                                    CJReply                       .Q. Award       F) Share

                          outlaw-chaos • 8 days ago

                          Also a sex offender.

                          ◊ 2 {}                                       CJ Reply          .Q. Award       F) Sh




                 Q                         -1         r/FirstResponderCringe                    O    Search in r/FirstResponderCringe


             posted address of people claiming them to be
             on drugs ..... 1) news press doesn't doxx people
             like that 2) the if the DEA was looking for them
                                                                                                                    r/FirstResponderCri ...
             they wouldn't post their address to alert                                                              FirstResponderCringe
             them .... WOW t his dude is nuts I feel sorry for                                                      Tmfms. Hit it hard from the yard br0thers.
             those people                                                                                           Tow Lives Matter
             ◊ 3 {}                                   CJ Reply                      .Q. Award       ;!; Share
                                                                                                                    123K             21             Top2%
                                                                                                                    Members            Online       Rank by size ~

             Wonderful_Syrup_6949 • 9 days ago

             Apparently there's a fan page for stolen valor
                                                                                                                       r/FirstResponderCringe

        0    ◊ 1 ◊                                   CJ Reply                       .Q. Award       ;!; Share     Apologies
                                                                                                                  153 upvotes • 31 comments
                              Wonderful_Syrup_6949 • 9 days ago

                              It's called firefighter navy seal fan club!                                              r/AutismlnWomen
                              "Robert" Yuki Iola Ell iott"
                                                                                                                  Resting Bitch Voice -
                                                                      CJ Reply          .Q. Award        F) Sh.   2 upvotes


    •        Ptards_Number_1_Fan OP • 5 days ago                                                                       r/FirstResponderCringe
              Hd~L.>, '- •l   ,o,,-1 f -:, 1   J'X' , ' ' ~ .ii,,   ),t''   ,   I
                                                                                                                  Y'all want real cringe? I just shit myself as I
                t ~ 't'uk,o Sot o £11 .ott
                 \;                      ,,
                                                                                                                  walked into work at the Sheriffs Office.
                                                                                                                  682 upvotes • 180 comments


                                                                                                                       r/FirstResponderCringe




https ://www.reddit.com/r/FirstRespon d erCringe/comments/1e4wOg2/bellevue_ok/                                                                                     Page 6 of 7
              8:24-cv-00359-JFB-PRSE
Bellevue, OK : r/FirstResponderCringe                   Doc # 1         Filed: 09/13/24   Page 49 of 243 - Page ID # 49
                                                                                                                     9/12/R6, 10:55 PM




            {} 1 {}          CJ Reply         .Q Award            ~ Share



            nonja-bidness • 2 mo. ago

            first time i've seen a post that isn't cringe (at
            least imho)

            CERT is Community Emergency Response
            Team. it's a volunteer organization that
            supports gov't / 1st responders. there's quite a
            bit of training involved to become a volly and
            i'm pretty sure it originated with fema. looks like
            that person's just helping direct traffic, not
            cosplaying or stealing valor.

            {} 0 {}           CJ Reply         .Q Award           ~ Share




https ://www.reddit .com/r/FirstResponderCr inge/comments/1e4wOg2/bel1evue_ok/                                                Page 7 of 7
np Form        8:24-cv-00359-JFB-PRSE                    Doc # 1        Filed: 09/13/24         Page 50 of 243 - Page ID # 50
                                                                                                                           9/11/R6, 11:os PM




                Chesapeake Crime Line
                Chesapeake, Virginia, United States
                1-888-562-5887 I www.chesapeakecrimeline.org



    Your information was submitted successfully. Use the credentials below to login and add additional information at any time. Also, please
    login often to see if any questions or messages have been left for you. You can login through your browser on a PC, smart phone, or other
    mobile device. You can also call our hotline at 1-888-562-5887 and refer to the Tip ID below to add additional information or check on the
    status of the tip.

                                                   Login Instructions

                                                    Website: www.p3tips.com
                                                      Tip ID: 1034-W3557
                                                   Password:

                                                        You may reach us by the following methods:
                                                                 ~      : 1-888-562-5887
                                                            jOS or Android Mobile MP.: P3 Tips
                                                          Mobile or pc Browser: www.p3tips.com

                                               CLICK HERE TO CHAT LIVE OR ADD ADDITIONAL INFORMATION

    llllf2Q.llfillt: Record the login informat ion above somewhere safe. Thank you for submitting your tip. Please be aware that Crime Stoppers is a
    private, non-profit organization. The information you have provided does not constitute a police report. Your information will be reviewed
    and forwarded to the most appropriate law enforcement agency. Add follow-up information anytime. If this is an urgent matter call 911.




https://ww w.p3t ips.com/tipform.aspx?l D=10 34#                                                                                              Page 1 of 1
8:24-cv-00359-JFB-PRSE          Doc # 1     Filed: 09/13/24      Page 51 of 243 - Page ID # 51




Comments




                                               Tabby

                                             08/22/2018
                                              20 :01 :13




Well, its been a while since i commented. Had court today. Didnt go well. He will be out in 18
months. I really thought he would get more time but apparently reading psaims 50 to the judge
softened the blow. He put on one hell of a show.




                                             BoyScout

                                             08/21/2018
                                              13:53 :13




Awesome video.




                                                Joe

                                             08/18/2018
                                              00:57 :58
8:24-cv-00359-JFB-PRSE            Doc # 1       Filed: 09/13/24      Page 52 of 243 - Page ID # 52




                                                 hball13

                                                11/19/2023
                                                 14:39:50




Just another Sunday waiting for tomorrow's reality, took my meds .... - • -·
Stay thirsty site members




          JOIN NOW
           JOS
            IMA


      3       1        5




                                                  Hoop

                                                11/19/2023
                                                 14:28:49
8:24-cv-00359-JFB-PRSE            Doc # 1      Filed: 09/13/24       Page 53 of 243 - Page ID # 53




if you dent have anything good to say ..... .than dont say anything at all. i wish more people lived by
the golden rule.




                                                  Mr. T

                                                08/12/2018
                                                 03:03:51




I hope the guy at least got dick bombed ... crazy someone would say that about this girl. I personally
never saw the comment, however I typically don't lurk the thread . It's a shame, someone in this
community would say That, seems like we have a turd in the punch bowl.


      2




                                                Jordanb18

                                                08/11/2018
                                                 23:25:11




What a shame some clown would do that, sounds like some jabronis are joining to cause discontent
with legitimate people outing phonies.
8:24-cv-00359-JFB-PRSE           Doc # 1     Filed: 09/13/24      Page 54 of 243 - Page ID # 54




Tex Cobb wannabe from uncommon valor : sailor




                                              MANCHU

                                             11/19/2023
                                              13:32:32




Blair, you're a diver, ya should know this: How do you circumcise a whale ?




Send down four skin divers


     3        2       1
8:24-cv-00359-JFB-PRSE           Doc # 1      Filed: 09/13/24       Page 55 of 243 - Page ID # 55




                                               SittingElf

                                               08/11/2018
                                                18:26:53




WTF??!! There is simply no sense to that comment. Whoever wrote that needs a reality check! Hope
you kicked off the site because there is no call for that kind of shit!
I thought you did a great job of drawing out the story from her, and your willingness to assist her is a
testament to your dedication. There will always be trolls, but fortunately, you can kick them the fuck
out! Cheers!


      2




                                                DocFMF

                                               08/11/2018
                                                14:23:48




I missed it but sucks. I know I'm missing the community connection here because I don't really
participate in comments, but easier insulate oneself from potential bs. Not any of your faults. Its
cool being a part of this community even if a silent one. Keep up the great work!


      1
8:24-cv-00359-JFB-PRSE           Doc # 1      Filed: 09/13/24      Page 56 of 243 - Page ID # 56




                                               MANCHU

                                              11/19/2023
                                               13:28:25




A priest, a minister, and a rabbi want to see who's best at his job. So they each go into the woods,
find a bear, and attempt to convert it.

Later they get together. The priest begins: "When I found the bear, I read to him from the Catechism
and sprinkled him with holy water. Next week is his First Communion."

"I found a bear by the stream," says the minister, "and preached God's holy word . The bear was so
mesmerized that he let me baptize him."


They both look down at the rabbi, who is lying on a gurney in a body cast. "Looking back," he says,
"maybe I shouldn't have started with the circumcision."


      1
8:24-cv-00359-JFB-PRSE           Doc # 1      Filed: 09/13/24      Page 57 of 243 - Page ID # 57




                                                 TERRY

                                               08/11/2018
                                                00:45:18




 Don you do a Great Service and there will always be Trolls ! Don't let this discourage you , Keep on
 Keeping On! And Tabby stay Strong Girl!


       1




                                                 NHdad

                                               08/10/2018
                                                19:40:57




 Yes, wife hit NY and ETA NH time 11 PM . Kids will be asleep but I get to carry them to bed!
 Tommorow off to Winnipesaukee. If you are not familiar with this area. winnipesaukee is a 22 mile
 long lake (give or take) and is spring fed. There is a special place on the Moltonboro side where we
 get together with multiple families and enjoy a great weekend . Now, think about this. The people
 who will be there are parents of 2 West Point Cadets, 1 Annapolis Cadet and one Navy SEAL. Those
 parents must have done something right.
8:24-cv-00359-JFB-PRSE          Doc # 1      Filed: 09/13/24   Page 58 of 243 - Page ID # 58




                                           Yosemite Sam

                                             11/19/2023
                                              12:46:07




How does he wipe his ass? Asking for a friend .


      5




                                              MANCHU
                                             11/19/2023
                                              12:19:17
8:24-cv-00359-JFB-PRSE         Doc # 1         Filed: 09/13/24   Page 59 of 243 - Page ID # 59




     1




Watch on Youtube




Comments




                                               LCAC1141

                                               11/28/2023
                                                09:56:45




That was rough, Senior. Ocular masochism ...
8:24-cv-00359-JFB-PRSE          Doc # 1     Filed: 09/13/24   Page 60 of 243 - Page ID # 60




did yall know Ms Robin is a devout Optimist??




                         o ···
               SE
             IMA


      1       3




                                                MANCHU
8:24-cv-00359-JFB-PRSE          Doc # 1      Filed: 09/13/24   Page 61 of 243 - Page ID # 61




                                              Sgt. Pop

                                             11/27/2023
                                              15:23:10




oh please, not a second time .... nooooooo




                                                cliff

                                             11/27/2023
                                              09:06:40




 l'VE GOT IT l'VE GOT, IT'S JOHN CANDY IN "WHO'S HARRY CRUMB"
8:24-cv-00359-JFB-PRSE   Doc # 1   Filed: 09/13/24   Page 62 of 243 - Page ID # 62



                                   11/19/2023
                                    12:03 :24




         TOSE
         IMA


    2




                                   MANCHU

                                   11/19/2023
                                    11 :59:05
8:24-cv-00359-JFB-PRSE           Doc # 1      Filed: 09/13/24      Page 63 of 243 - Page ID # 63




      1




                                              GJackJones

                                               11/27/2023
                                                07:47:25




 Some things are just W-R-0-N-G; this is one of those!

 After watching that it feels like I've been snake bit, my eyes are stinging and my mind has gone
 numb.


       1




                                                  Sled

                                               11/27/2023
                                                06:21:58




 what a total moron can't believe somebody has it, shot this dude in the face. When was he ever
 supposed to be small enough to even pass a physical to go in any branch of the military? He doesn't
 look to be very old, so he had to be fat as hell when he was just a teenager. wow I hope you don't lay
 off of this idiot
8:24-cv-00359-JFB-PRSE   Doc # 1   Filed: 09/13/24   Page 64 of 243 - Page ID # 64




        JOIN NOW
         T0 SEiz ,
          IMAG~


    2




                                   MANCHU

                                   11/19/2023
                                    11 :51:29
8:24-cv-00359-JFB-PRSE              Doc # 1    Filed: 09/13/24   Page 65 of 243 - Page ID # 65




      1




                                              Flying Honker

                                               11/25/2023
                                                19:00:16




Don, this is an absolute nut job.


      1




                                                jmoo678

                                               11/25/2023
                                                15:17:03




Steven segals sister?
8:24-cv-00359-JFB-PRSE   Doc # 1   Filed: 09/13/24   Page 66 of 243 - Page ID # 66




        JOIN NOW
           T0 SEiz ··
         -.....:::
         - IMAGE


    1     4




                                   MANCHU

                                   11/19/2023
                                    11:50 :54
8:24-cv-00359-JFB-PRSE           Doc # 1     Filed: 09/13/24      Page 67 of 243 - Page ID # 67




                                             flyingfishcook

                                               11/25/2023
                                                13:22:55




 Hey Senior Chief was that the Robert Elliot that taught hand to hand combat in your BUDS class?



       1




                                                  Levi

                                               11/25/2023
                                                12:32:30




 I think mama hugged this one a little too hard around the head as an infant.




                                              QualifiedPI
8:24-cv-00359-JFB-PRSE           Doc # 1      Filed: 09/13/24          Page 68 of 243 - Page ID # 68




          JOIN NOW
           TO SEE
            IMAGE


      2




                                               Mr Happy

                                               11/19/2023
                                                11:30:47




Looks like Chris Farley and John Candy had a kid


      1




                                                Alf51175

                                               11/19/2023
                                                11:20:28




Couldn't tell if that was an audition for a dance team or bullshido.


      1
8:24-cv-00359-JFB-PRSE           Doc # 1      Filed: 09/13/24      Page 69 of 243 - Page ID # 69



                                               11/25/2023
                                                11:18:52




King fu panda ... the wish.com version.




                                               mla119K

                                               11/24/2023
                                                14:07:52




It's actually funny how he thinks lying to the media is a crime.
                                                              ----.




                                               mla119K

                                               11/24/2023
                                                11:40:03
8:24-cv-00359-JFB-PRSE              Doc # 1       Filed: 09/13/24     Page 70 of 243 - Page ID # 70




                                                  SubSKC724

                                                   11/19/2023
                                                    11:15:01




From the movie Animal House comes the line "Fat drunk and stupid is no way to go through life
son .". Sure seems to fit this idiot. Can't figure out what his real job is. Probably doesn't have one.
Sure seems to like to confront people without proving who he is. I liked the girl in Denny's. She
wasn 't backing down. A food critic in Denny's? I don't think so.


      3




                                                   Jugghead

                                                   11/19/2023
                                                    11 :12:03




If I didn't know better I'd say this is Chris Farley!!
8:24-cv-00359-JFB-PRSE           Doc # 1         Filed: 09/13/24   Page 71 of 243 - Page ID # 71




Ok- this guy got me upset. Sucks- I don't get upset over strangers. Hypothetically thinking about a
movie maybe were one sub, dm's another sub, and shares dox, then I think aliens invade- completely
made up story line. Anyway I've taken my breaths. Peace on Earth




                                                 mla119K

                                                 11/24/2023
                                                  11:21:45




It's Chris Farley the dancing the ninja dance.




                                                 MikeS8080

                                                 11/24/2023
                                                  09:21:29
8:24-cv-00359-JFB-PRSE            Doc # 1       Filed: 09/13/24   Page 72 of 243 - Page ID # 72




                                                 redman

                                                11/19/2023
                                                 11:02:25




Ive been traumatized by this video, probably gonna need some time with the shrink now. Damn


      2




                                                donshair

                                                11/19/2023
                                                 10:30:08




Thats the ugliest tranny I've ever seen. FFS.




                                                 ebeeby

                                                11/19/2023
                                                 09:58:58
8:24-cv-00359-JFB-PRSE          Doc # 1      Filed: 09/13/24      Page 73 of 243 - Page ID # 73




 Good lord ...




                                               ChillBilly

                                              11/23/2023
                                               19:15:03




 Chris Farley lives.


       2




                                                Madlax

                                              11/23/2023
                                               11:15:39




 Holy hell thats a quite the maniac. Probably dangerous to the general public.


        1
8:24-cv-00359-JFB-PRSE          Doc # 1      Filed: 09/13/24      Page 74 of 243 - Page ID # 74




woot!


        4




                                               hball13

                                              11/19/2023
                                               09:39:29




New York city is a Santuary mess and getting worse. Diversity is our strength as the Leftists take
down our Nation from the inside out!
https://www.police1.com/police-recruiting/articles/nypds-budget-will-be-cut-by-132m-next-5-
academy-classes-cancelled-4qhNYi1 tNBmVIYue/


        3




                                      Herding Electric Chickens

                                              11/19/2023
                                               08:57 :58
8:24-cv-00359-JFB-PRSE           Doc # 1      Filed: 09/13/24      Page 75 of 243 - Page ID # 75




                                                 ltsMe

                                               11/23/2023
                                                10:16:05




 This fat fuck couldn't fight his way out of wet paper sack with a pair of damn scissors! He's got one
 of those heads you just want to put your fist through! Obviously he's got some serious mental
 issues, and usually I would have some sympathy, but not for a sex offender.


         1




                                             Moscowexpat

                                               11/23/2023
                                                06:54:36




 Gold!




                                               bossrigger

                                               11/22/2023
                                                13:11:56
8:24-cv-00359-JFB-PRSE   Doc # 1   Filed: 09/13/24   Page 76 of 243 - Page ID # 76




                    "




         T0S
         - IMAG


    3     1




                                   Roy_Bean

                                   11/19/2023
                                    08:57:26




        JOIN NOW
         TO SEE
          IMAGE
8:24-cv-00359-JFB-PRSE            Doc # 1    Filed: 09/13/24       Page 77 of 243 - Page ID # 77




 Naked samurai




                                                 Fox

                                              11/22/2023
                                               12:01:17




 Easy, that's the Beverly Hills Ninja




                                                Jonah

                                              11/22/2023
                                               10:12:24




 There is no way I could sit and watch that creep a second time!




                                                 Leo
8:24-cv-00359-JFB-PRSE          Doc # 1      Filed: 09/13/24        Page 78 of 243 - Page ID # 78




     2       1        1




                                      Herding Electric Chickens

                                             11/19/2023
                                              08:36:06




I can't wait until this video gets uploaded to Youtube and Rumble


     4




                                      Herding Electric Chickens

                                             11/19/2023
                                              08:07:26




The video toughened Macnchu up so much he put on a speedo and a tutu and was last seen dancing
Swan Lake ... oh, the humanity ...


      5
8:24-cv-00359-JFB-PRSE            Doc # 1      Filed: 09/13/24   Page 79 of 243 - Page ID # 79




                                                11/22/2023
                                                 08:49:26




 I can't remember its name but that is the trans seal imposter from a couple years ago




                                                Space boy

                                                11/21/2023
                                                 19:46:29




 Ok it is not the naked samurai. I gave it my best.




                                                Space boy

                                                11/21/2023
                                                 19:45:04




 The naked samurai
8:24-cv-00359-JFB-PRSE           Doc # 1      Filed: 09/13/24      Page 80 of 243 - Page ID # 80




                                            Minecraftdd214

                                               11/19/2023
                                                07:58:56




Well I rang the bell about fifteen seconds in. Couldn't make it through Michael Harville the vibrating
phony's bullshit power point either.


      1       2




                                                  Tim

                                               11/19/2023 .
                                                07:37:41




I didn't have a clue but can i still have a Waffle House koozie?


      1       3        1
8:24-cv-00359-JFB-PRSE           Doc # 1      Filed: 09/13/24      Page 81 of 243 - Page ID # 81




                                                ChillBilly

                                               11/21/2023
                                                17:40 :25




 Hey folks!




                                                  Rick

                                               11/21/2023
                                                14:19:01




 I don't know senior I'm 220 lbs of twisted steel and sex appeal I crap thunder and piss lightning Bolts
 365 except for leap year 366 •'
8:24-cv-00359-JFB-PRSE             Doc # 1      Filed: 09/13/24           Page 82 of 243 - Page ID # 82




                                                    Hine

                                                 11/19/2023
                                                  07:16:45




The saddest part of the beginning of this video is, everyone just stood there and didn't even try to get
a spoon in his mouth ..


      1




                                                 Comdog

                                                 11/19/2023
                                                  06:11:39




i thought i was good till you said to watch it a 2nd and 3rd time .....


      3        1




                                                 Old Pudgy
8:24-cv-00359-JFB-PRSE           Doc # 1     Filed: 09/13/24      Page 83 of 243 - Page ID # 83




                                               TommyF

                                              11/21/2023
                                               14:03:41




 Kung Fu Panda. Now I'll look for your email and I'll send you my address.




                                                David A

                                               11/21/2023
                                                09:47:54




 He looks like John Belushi and Chris Farley had a baby.


      2




                                                 Drew
8:24-cv-00359-JFB-PRSE         Doc # 1      Filed: 09/13/24     Page 84 of 243 - Page ID # 84



                                            11/19/2023
                                             05 :52 :16




I showed my buddy that karate crap he was doing- didn't skip any of it! He instructs MMA (he's
legit, and not a Navy SEAL. I've been to his course and seen him compete) and he got a damn good
laugh out of it.


     3




                                      Chuck golf :2/26th mar

                                            11/19/2023
                                             05:47:18




Good Morning To You'ze All From Cardinal    ..;;..Chuck


     4




                                               Rheu

                                            11/19/2023
                                             05:24:24
8:24-cv-00359-JFB-PRSE             Doc # 1       Filed: 09/13/24        Page 85 of 243 - Page ID # 85



                                                  11/21/2023
                                                   00:15:29




 Guys a fucken idiot!




                                                   Earlyhaze

                                                  11/20/2023
                                                   19:31 :09




 Looks like one of the ships you were on in the Navy!




                                                   Bignick86

                                                   11/20/2023
                                                    19:18:52




 WTF did I just watch I wanna fight that dude I'm a big dude 6ft 3in 3001bs born and raised in
 Philadelphia If anyone can find a way to set it up I'll fight that weirdo in a ring, cage, or street I don't
 care let make it happen.




                                          Herding Electric Chickens
8:24-cv-00359-JFB-PRSE            Doc # 1      Filed: 09/13/24       Page 86 of 243 - Page ID # 86




Painful !!!!!!!! I will never get those 10 minutes back. What did I just watch????


      2       1




                                                 MANCHU

                                                11/19/2023
                                                 04:43 :13




my traditional Sunday morn in song



Watch on YouTube
Shenandoah - Sunday In The South (Video)


      3
8:24-cv-00359-JFB-PRSE            Doc # 1      Filed: 09/13/24       Page 87 of 243 - Page ID # 87



                                                11/20/2023
                                                 16:53:38




 Reasons You Are a Superior Asshole From The Northeast

 You've never lived south of the Mason-Dixon line and you probably never will.

 When people call you a sarcastic bitch, you don't take it as an insult. You appreciate that they
 acknowledge that trait and love you for it.

 When you give someone a compliment, it means a lot to them because you compliment sparingly.
 Your compliments have a lot of clout because you wouldn't say something that kind unless you
 genuinely meant it.

 You love fall foliage but wish tourists would just shut up about it. The last thing you need is to run
 into another BnB-er yapping about how they just love your state this time of year.

 You own at least one slightly preppy or conservative outfit because you understand how to dress in
 civilized society and that it's not always appropriate for people to have rips all over their clothing.

 People always tell you to drink herbal tea and they need to stop. Unless they're offering you a cup of
 black coffee, you'd really like for them to stop talking because it's too early in the morning to hear
 someone yammering endlessly about lavender chamomile tea.

 You prefer not to acknowledge the fact that you have emotions and do, on occasion, feel feelings.

 Watching shows about a New England town supposedly like yours (Gilmore Girls) or about New York
 City (Friends, HIMYM, Seinfeld, every other show ever) will always be annoying .

 Adorable Connecticut towns exist, but not ones that host pie-eating contests and knitting
 competitions every other day.

 Speaking of CT, you always shit on Connecticut, but honestly aren't sure why. It's just something you
 learned from sarcastic Northerners that came before you. It's a perfectly nice place, but you'll
 probably continue to scoff at it.

 You have very rig id opinions about New York City, even if you grew up right across the rive r.

 If you're from New Jersey, you will defend it to the death while talking people's ears off about Pork
 Roll, WaWa, diners and so on.
8:24-cv-00359-JFB-PRSE         Doc # 1      Filed: 09/13/24     Page 88 of 243 - Page ID # 88




                                               Bob

                                            11/19/2023
                                             01:43:30




I watched the video and can now state with absolute certainty that we now know who ate all the
pies.


     1       1




                                            Klink1960

                                            11/19/2023
                                             01:37:54
8:24-cv-00359-JFB-PRSE              Doc # 1       Filed: 09/13/24    Page 89 of 243 - Page ID # 89




 If you're from outside New Jersey, the only parts of Jersey that exist in your mind are the shore, AC,
 and Trenton, which sends shivers down your spine. Other than that, it's just the state with jug
 handles you'd rather not deal with.

 You think every city outside the Northeast (especially not on the East Coast) is too young. They have
 no history, no cobblestones and no stories about Paul Revere.

 If you relocated to the Northeast, you love not having to be nice or talk to people unnecessarily. Don't
 lie. It's pretty blissful not to converse in line at the grocery store.

 If you relocated away from the Northeast, you are constantly confused as to why people think you're
 mean. People don't think your sarcasm is hilarious and endearing. They think it's rude and will sit you
 down to talk about your attitude during your first week of work.

 You believe that participating in a sporting event means yelling.

 Yelling at the television, the fans, the players or the heavens. You can be yelling support, but the
 volume needs to be a few decibels above your average tone of voice.

 You're not turned off by the title of this article.


 You think there's nothing more terrifying than driving down to Florida and driving past all the big
 crosses on the side of the road when you cross into Georgia. You like Georgia.

 You respect Georgia. But like, the crosses are a lot to handle.

 It's not road rage if you know you're right and the other driver's clearly wrong.


       5




                                                       jimmijo
8:24-cv-00359-JFB-PRSE             Doc # 1   Filed: 09/13/24    Page 90 of 243 - Page ID # 90




It looks like a flying bean bag!


      1        1




                                             Stevel077

                                             11/19/2023
                                              01 :08:56




I may not have known who it was, BUT I know with 100% certainty that it's a registered Democrat
looney tune ~. The pink hair on this leftist was a huge give away. All clowns. The dem party is
riddled with mentally insane


      4        1




                                               Junior

                                             11/19/2023
                                              01 :05:27




What a wierdo


      1
8:24-cv-00359-JFB-PRSE           Doc # 1     Filed: 09/13/24      Page 91 of 243 - Page ID # 91



                                              11/20/2023
                                               16:10:00




 45 degrees & raining--45 yrs ago I would have been sitting in a duck blind, sucking on a bottle of
 blackberry brandy---when the weather's hot & sticky, that's no time for dunkin dickie--but when the
 frost is on the pumpkin, that's the time for dunkin dickie


       1




                                               MANCHU

                                               11/20/2023
                                                16:07:54
8:24-cv-00359-JFB-PRSE           Doc # 1     Filed: 09/13/24       Page 92 of 243 - Page ID # 92




                                                A Dom

                                              11/19/2023
                                               00:56:00




Got some nerve confronting people for code violations as a registered sex offender. Word will
spread of that real quick and I'm sure those videos won't go so well for him when it does. Idiot.


      1




                                               Subman

                                              11/19/2023
                                               00:41:42




This came on as I pulled in the drieway today, so I went around the block again



 Watch on YouTube
 Fishing In The Dark


      4
8:24-cv-00359-JFB-PRSE           Doc # 1     Filed: 09/13/24   Page 93 of 243 - Page ID # 93




Watch on YouTube
The Cranberries - Zombie (Official Music Video)


     3




                                                  Hef83

                                             11/18/2023
                                              23:05:55




Watch on YouTube
Ozzy Osbourne - Hellraiser




          JOIN NOW
            T0SEE
            IMAGI!:


      3
8:24-cv-00359-JFB-PRSE           Doc # 1   Filed: 09/13/24   Page 94 of 243 - Page ID # 94




                                            hball13

                                           11/18/2023
                                            23 :08:59




Watch on YouTube
Guns N' Roses - November Rain


     2        2




                                            hball13

                                           11/18/2023
                                            23 :06:25




Delores taken to early ~ Slainte "' ~
8:24-cv-00359-JFB-PRSE            Doc # 1   Filed: 09/13/24   Page 95 of 243 - Page ID # 95




Watch on YouTube
Like a Bad Girl Should




                         ..
          JOIN NO
           TOSE
            IMA


      1       3




                                             hball13

                                            11/18/2023
                                             23:12:29




Watch on YouTube
Pink Floyd - Wish You Were Here


      1       2
8:24-cv-00359-JFB-PRSE          Doc # 1     Filed: 09/13/24   Page 96 of 243 - Page ID # 96




                                             hball13

                                            11/18/2023
                                             23:20:11




Watch on YouTube
ZZ Top - Legs (Official Music Video) [HD Remaster]


     4




                                              Hef83

                                            11/18/2023
                                             23:14:32
8:24-cv-00359-JFB-PRSE           Doc # 1   Filed: 09/13/24   Page 97 of 243 - Page ID # 97




                                             Hef83

                                           11/18/2023
                                            23:20:18




Watch on YouTube
Bikini Girls with Machine Guns




          JOIN NOW
            J0SEE
             ..._

              IMAGE


      3
8:24-cv-00359-JFB-PRSE          Doc # 1    Filed: 09/13/24   Page 98 of 243 - Page ID # 98




Watch on YouTube
Deep Purple - Smoke on the Water (Audio)


     1       2




                                             Hef83

                                           11/18/2023
                                            23:25:18




Watch on YouTube
Hypnotized (2018 Remaster)


     4
8:24-cv-00359-JFB-PRSE           Doc # 1      Filed: 09/13/24   Page 99 of 243 - Page ID # 99




Watch on YouTube
The Beatles - Something


     2




                                              Artword

                                             11/18/2023
                                              23 :29:08




Wtf... makes me wanna soak my eyes in battery acid ...




                                               hball13

                                              11/18/2023
                                               23:25:37
8:24-cv-00359-JFB-PRSE         Doc # 1   Filed: 09/13/24   Page 100 of 243 - Page ID # 100




      3       1




                                           Hef83

                                         11/18/2023
                                          23 :32:45




 Watch on YouTube
 I Can't Tell You Why (2013 Remaster)


      3




                                            Hef83

                                          11/18/2023
                                           23:30:34
8:24-cv-00359-JFB-PRSE          Doc # 1      Filed: 09/13/24   Page 101 of 243 - Page ID # 101




 Watch on YouTube
 Hotel California (2013 Remaster)




          JOIN NOW
            TO SEE
           - IMAGE


      4        1




                                                hball13

                                              11/18/2023
                                               23:44:56




 Watch on YouTube
 Whitesnake - Is This Love (Official Music Video)
8:24-cv-00359-JFB-PRSE       Doc # 1   Filed: 09/13/24   Page 102 of 243 - Page ID # 102




 Watch on YouTube
 No Doubt - Sunday Morning


      3




                                          Hef83

                                        11/18/2023
                                         23 :52 :23




 Watch on YouTube
 Southern Cross


      3      1




                                          Hef83

                                        11/18/2023
                                         23:47:09
8:24-cv-00359-JFB-PRSE             Doc # 1      Filed: 09/13/24      Page 103 of 243 - Page ID # 103




                                                   Hef83

                                                 11/19/2023
                                                  00:01:31




 Watch on YouTube
 Dolly Parton - Free Bird (feat . Lynyrd Skynyrd) (Official Audio)


       2




                                                   hball13

                                                 11/19/2023
                                                  00:00:04




 It's Sunday in the Central!
8:24-cv-00359-JFB-PRSE           Doc # 1      Filed: 09/13/24   Page 104 of 243 - Page ID # 104




                                                MANCHU

                                               11/19/2023
                                                00:01:36




 MOM, I didnt forget!! lol, been busy with movies.



Watch on YouTube
The Monkees - I'm A Beliver (Original Video HD)


       1       1       1
8:24-cv-00359-JFB-PRSE        Doc # 1     Filed: 09/13/24   Page 105 of 243 - Page ID # 105




                                             Hef83

                                           11/19/2023
                                            00:05:49




Watch on YouTube
Lynyrd Skynyrd - Gimme Back My Bullets (Audio)




         J '   ow
          T0SE
           IMA


     3       1
8:24-cv-00359-JFB-PRSE         Doc # 1      Filed: 09/13/24   Page 106 of 243 - Page ID # 106




Watch on YouTube
Tom Cochrane - Life Is A Highway (Official Video)


     4        1




                                               Hef83

                                             11/19/2023
                                              00:09:41




Watch on YouTube
Midnight Rider




         JOIN NOW
             · -EE



     4        1
8:24-cv-00359-JFB-PRSE             Doc # 1      Filed: 09/13/24        Page 107 of 243 - Page ID # 107




                                                    Hef83

                                                 11/19/2023
                                                  00 :39:38




 Watch on YouTube
 Watch on Youtube


       2




                                                   hball13

                                                  11/19/2023
                                                   00 :31 :05




 I'm calling it! Still fighting an upper respiratory bug . Enjoy your time everyone.   A
8:24-cv-00359-JFB-PRSE             Doc # 1     Filed: 09/13/24      Page 108 of 243 - Page ID # 108




                                                 Blairzy

                                               11/19/2023
                                                15:22:28




Roy Big county Nelson has still got it. They say for a fighter power is last thing to go as you get older.
Roy is 46 now, and he still has a chin ...



Watch on YouTube
Gamebred bareknuckle 4: Roy Nelson vs Dillon Cleckler (Full Fight)




          JOIN NOW
             T0SE~
             IMAGlz

      4        1        1
8:24-cv-00359-JFB-PRSE           Doc # 1      Filed: 09/13/24       Page 109 of 243 - Page ID # 109




Sr .. what the hell did any of us ever do you to deserve to have to watch Cher in a Gi like that on mat.
Did one of us hurt you lol


      2       1




                                                 redman

                                               11/19/2023
                                                16:00:13




https://www.youtube.com/shorts/Xu2VtBM3cGI ride em cowboyz




          JOIN NOW
            T0SEE
           - IMAG~


      6
8:24-cv-00359-JFB-PRSE           Doc # 1      Filed: 09/13/24      Page 110 of 243 - Page ID # 110




 Gooood Lawd is that mr miyagi in real life lol




                                                  Shammy

                                                  11/19/2023
                                                   18:26:23




 Is this the same fat tub of shit that was chopping fruit with a 1.99 sword?


       3




                                                  Shammy

                                                  11/19/2023
                                                   18:24:00
8:24-cv-00359-JFB-PRSE            Doc # 1     Filed: 09/13/24       Page 111 of 243 - Page ID # 111




 Today kids like to bully and attack on the internet. I kinda like like the way we settled things when I
 was a kid. Once it was over, it was over with. Now let's get back to the road hockey game!!




           JOIN NOW
              IO SEiz
               IMAGE


       4        1




                                                   raider

                                                11/19/2023
                                                 19:33:03




 link to the first time don called him?




                                                ]Littleton 7

                                                11/19/2023
                                                 18:38:17
8:24-cv-00359-JFB-PRSE          Doc # 1     Filed: 09/13/24      Page 112 of 243 - Page ID # 112




      3       4




                                          ShotlnTheDark71

                                              11/19/2023
                                               20:16:01




 That is so damned disturbing WTF is going on this planet? The way I describe our current situation
 is this. There has to be an outside source possibly ETs beaming some e type of Mind Control Brain
 washing onto the populations of the world. Why?? To destroy this planet and come in and possibly
 steal all our recourses that's one possibility and unfortunately it seems to be the ONLY possibility
 that makes sense!! Non of what is going on is normal it is some type of mind controls or brain
 washing yes possibly being done by ETs !! Does anyone out there agree with me? Im very curious to
 know!!


       5




                                                Blairzy

                                              11/19/2023
                                               19:46:35
8:24-cv-00359-JFB-PRSE        Doc # 1    Filed: 09/13/24   Page 113 of 243 - Page ID # 113




                                               BoRod

                                           11/19/2023
                                            20 :38:31




 Good one, Where do you find these' Things'?




                                           Roy_Bean

                                           11/19/2023
                                            20:37:35




                         0
            TOS
            IMAG .
                          I
8:24-cv-00359-JFB-PRSE             Doc # 1   Filed: 09/13/24     Page 114 of 243 - Page ID # 114




                                                 Chris

                                              11/19/2023
                                               20:42 :30




 Hopefully he pisses off the wrong guy and gets shot, like that tick tocker guy who used to pretend
 like he was going to attack people. He did the prank to an armed Uber eats driver who then
 proceeded to shoot him in the guts.


       1




                                                hball13

                                              11/19/2023
                                               20:40:32




 A little something for a Sunday.... .



 Watch on YouTube
 Entire Fight! Karate Kid vs. Mesi Boy


       4        1
8:24-cv-00359-JFB-PRSE            Doc # 1     Filed: 09/13/24       Page 115 of 243 - Page ID # 115




                                                11/19/2023
                                                 21:54:16




 The uniform has changed over the years, but the heart, willingness, and brotherhood remains the
 same ...~ X~




                              .   .



              T0SE
              IMA - •


       4




                                                   62FT

                                                11/19/2023
                                                 21:47:39




 Hey Dude! Like always your just awesome! I can feel your just happy with all these fools . Guys like
 that I would let him try my knuckle sandwich since he a food critic. Would you like fries with that? lol.
 Keep up the good work amigo!


       1
8:24-cv-00359-JFB-PRSE         Doc # 1   Filed: 09/13/24   Page 116 of 243 - Page ID # 116




          JOIN N
            TOSE
            -...,;::;,.

           --IMA


      1          4




                                           CozyDad

                                          11/19/2023
                                           22:04:10




 Pervert Shitbag. Pure and simple


      3




                                            Blairzy
8:24-cv-00359-JFB-PRSE   Doc # 1   Filed: 09/13/24   Page 117 of 243 - Page ID # 117



                                    BoyScout
                                    11/20/2023
                                     01:17:05




      2




                                     MANCHU

                                    11/19/2023
                                     23:12 :50
8:24-cv-00359-JFB-PRSE          Doc # 1      Filed: 09/13/24      Page 118 of 243 - Page ID # 118




       3        1      1




                                               BoyScout

                                               11/20/2023
                                                01 :20:14




 Senior Chief I figured it out. It is Po from Kung Fu Panda . Mental toughness is all about embracing
 the suck.




           JOIN NOW
             TO SEE=
             "'-'=
            - IMAG~


       4
8:24-cv-00359-JFB-PRSE          Doc # 1     Filed: 09/13/24      Page 119 of 243 - Page ID # 119




 mornin, ESE




                  . ow
               TOSE .
               IMA


      4




                                                 Bart

                                              11/20/2023
                                               02:24:21




 I think the dancing Turd needs to change its gee pants after that explosive dance.




          JOIN NOW
               T0SEE
               IMAGE
8:24-cv-00359-JFB-PRSE   Doc # 1   Filed: 09/13/24   Page 120 of 243 - Page ID # 120




          JOIN NOW
            TO SEE ·
           "-=
          - IMAG~


      3     1




                                     MANCHU

                                    11/20/2023
                                     04:16:19
8:24-cv-00359-JFB-PRSE            Doc # 1   Filed: 09/13/24   Page 121 of 243 - Page ID # 121




 Don bro you're the best . love ya .


       4




                                             MANCHU

                                             11/20/2023
                                              04:28:36
8:24-cv-00359-JFB-PRSE        Doc # 1     Filed: 09/13/24    Page 122 of 243 - Page ID # 122




 seconds. I'm stuck with it. You should have on-screen "LOOK AWAY NOW" warnings for your
 mentally weaker subscribers.


      1       1       1




                                            PGWater

                                            11/20/2023
                                             07:32 :01




 Good morning,
 WTF, Is that Kung Fu Panda or Stay Puff Marshmellow Man (Ghostbusters)??
 Luv your work Senior!!


      4       1




                                             atsoftco

                                            11/20/2023
                                             05:58:34
8:24-cv-00359-JFB-PRSE         Doc # 1     Filed: 09/13/24      Page 123 of 243 - Page ID # 123




                                             11/20/2023
                                              08:12:01




 Red sky at morning no yard work warning for Robin




          JOIN NOW
           TO SEE
            ~


            IMAG~


      1       5




                                           ctbroadleaf6x60

                                              11/20/2023
                                               07:51 :30




 Watch it a second time? Watch it a third? Whats that? A fucking joke or something? I was looking
 AWAY from the screen 10 seconds into .... whatever that was. You know, I can't UNSEE that ten
8:24-cv-00359-JFB-PRSE           Doc # 1      Filed: 09/13/24      Page 124 of 243 - Page ID # 124




                                                 MANCHU

                                                11/20/2023
                                                 08:16:43




 just to add to the absolute bullshit of it being Monday, today is also HEF's favorite President's
 birthday ... the 'big guy' biden is an OLD 81


       2       2




                                                  Hef83
8:24-cv-00359-JFB-PRSE         Doc # 1   Filed: 09/13/24   Page 125 of 243 - Page ID # 125




      4




                                            Buddy

                                          11/20/2023
                                           09:05:31




 Morning . Have a great day.


      4
8:24-cv-00359-JFB-PRSE        Doc # 1    Filed: 09/13/24     Page 126 of 243 - Page ID # 126




 Watch on YouTube
 Gene Autry - Here Comes Santa Claus (from The Cowboy and the Indians 1949)




      1       1      1




                                             Blairzy

                                           11/20/2023
                                            10:03:05




 Good morning Echo platoon and Elegant Echo's, hope everyone has a good day.
8:24-cv-00359-JFB-PRSE       Doc # 1   Filed: 09/13/24   Page 127 of 243 - Page ID # 127




           J · . ow
             To ·
            _.IMA · .


       4




                                       Crankyyankee

                                        11/20/2023
                                         10:54:14




 Omg ... my brain threw up


       1       1




                                       Yosemite Sam

                                        11/20/2023
                                         10:03:48
8:24-cv-00359-JFB-PRSE   Doc # 1   Filed: 09/13/24   Page 128 of 243 - Page ID # 128




           -
          JOIN NOW
           TO SEiz
          ""-=
          - IMAGE


      3




                                     MANCHU

                                    11/20/2023
                                     11:12:43
8:24-cv-00359-JFB-PRSE          Doc # 1      Filed: 09/13/24       Page 129 of 243 - Page ID # 129




 Disgusting what a pig that dude thing what ya call it. I didn't know the power of yoga tights. My fear
 for everyone at his dance class is he'll bust a seam for full exposure. Hey CHU do ya think he has
 LULU lemons on so everybody can get a look at his/her package?


       1       2




                                                MANCHU

                                               11/20/2023
                                                11:38:36




 who needs KY when theres WD???
8:24-cv-00359-JFB-PRSE          Doc # 1     Filed: 09/13/24      Page 130 of 243 - Page ID # 130




 This guy thrives on any attention he can get good or bad


       1




                                                 Tony

                                              11/20/2023
                                               12:29:02




 That fatass better watch slingin that sword around, he's gonna slice off half that PUSS-GUT!


       1




                                            bobbyd AMS1

                                              11/20/2023
                                               12:01:26
8:24-cv-00359-JFB-PRSE         Doc # 1      Filed: 09/13/24     Page 131 of 243 - Page ID # 131




              ¥)

           JOIN Now·
             JOSEE
             ~


            _..IMAGE


       1




                                               redman

                                              11/20/2023
                                               13:33:21




  I've watched this video on the FULL SCREEN. Am I now qualified for an award or Meritorious
  Promotion


       1       2




                                                Fubar

                                              11/20/2023
                                               13:32:41
8:24-cv-00359-JFB-PRSE        Doc # 1   Filed: 09/13/24   Page 132 of 243 - Page ID # 132




       1       1          1




                                           MANCHU

                                          11/20/2023
                                           14: 13:30




  CoughSeniorCough .. .
8:24-cv-00359-JFB-PRSE         Doc # 1     Filed: 09/13/24    Page 133 of 243 - Page ID # 133




                                               MANCHU

                                               11/20/2023
                                                14:26:02




  someone may need to explain this to Senior and/or Teuf,,.




                           a
              T0SE
               IMA .
8:24-cv-00359-JFB-PRSE   Doc # 1   Filed: 09/13/24   Page 134 of 243 - Page ID # 134




                                      MANCHU

                                      11/20/2023
                                       14:30:24




                0
            TO SEE
            IMA


       4
8:24-cv-00359-JFB-PRSE   Doc # 1   Filed: 09/13/24   Page 135 of 243 - Page ID # 135




                                      MANCHU

                                      11/20/2023
                                       15:03:25




                 . ow
            TOSE
            IMA


       1
8:24-cv-00359-JFB-PRSE            Doc # 1       Filed: 09/13/24        Page 136 of 243 - Page ID # 136




                                                      Buddy

                                                    11/20/2023
                                                     15:35:24




  Holy shit bags . I'm typing with one eye close . time for nappies. Ta ta for now..... .. .. ..


        1        1
8:24-cv-00359-JFB-PRSE   Doc # 1   Filed: 09/13/24   Page 137 of 243 - Page ID # 137




                                      MANCHU

                                     11/20/2023
                                      15:38:56




          JOIN NOW
           T0SEE
            IMAGE


      2
8:24-cv-00359-JFB-PRSE        Doc # 1     Filed: 09/13/24     Page 138 of 243 - Page ID # 138




           JOIN NOW
            TO SEE
             ~


            --IMAGE


       1       1




                                             Roy_Bean

                                             11/20/2023
                                              15:50:07




  Too bad that the Big Guy doesn't have to pay.
  https://www.breitbart.com/politics/2023/11 /20/former-troops-punished-over-bidens-vaccine-
  mandate-sue-for-billions-in-lost-wages/


       3
8:24-cv-00359-JFB-PRSE         Doc # 1     Filed: 09/13/24   Page 139 of 243 - Page ID # 139




  Hello folks


        9




                                                Simon77

                                                11/18/2023
                                                 16:07:50




  Yes ! Phony Navy SEAL of the Week!! Yes !!!


        6       1




                                                 Dakota

                                                11/18/2023
                                                 16:03 :42




  Ohhhhh my god. What a douche. How can you handle this crap Don.


        9
8:24-cv-00359-JFB-PRSE           Doc # 1      Filed: 09/13/24       Page 140 of 243 - Page ID # 140




                                                    Hine

                                                    1.SYr

                                                 09/06/2024
                                                  14:26:58




  Not gonna lie, when he was doing his little martial arts set at the beginning of the video, I was getting
  some strong Raygun vibes ..


        4       1




                                                  redman

                                                    2.1 Yr

                                                 09/06/2024
                                                  14:16:28
8:24-cv-00359-JFB-PRSE          Doc # 1      Filed: 09/13/24     Page 141 of 243 - Page ID # 141




       2        5




                                                 Simon77

                                                11/18/2023
                                                 16:12:53




  I didn't know Sumo wrestlers did that - oh they don't '    ~



        2       2       2




                                                  Blairzy

                                                11/18/2023
                                                 16:08:27
8:24-cv-00359-JFB-PRSE   Doc # 1   Filed: 09/13/24   Page 142 of 243 - Page ID # 142




                                     Blairzy

                                      5.9 Yr

                                    09/06/2024
                                     14:38:08




 Hello folks


       8
8:24-cv-00359-JFB-PRSE          Doc # 1      Filed: 09/13/24      Page 143 of 243 - Page ID # 143




       7




                                                   Jay

                                                11/18/2023
                                                 16:34: 15




  My main question is how did he score a 9 in Karate?? That's the real mystery ...


        2       2




                                                          •
                                                   mick

                                                11/18/2023
                                                 16: 15:41




  RIP Charlie Stevens.


  About 9pm Friday 17 November, emergency services were called to Beach Road after a pedestrian
  was struck by a car. The car did not stop at the scene but was pulled over by police a short distance
  away on Port Elliot Road at Goolwa.

  The pedestrian, an 18-year-old Colonel Light Gardens man, sustained serious injuries and was
  airlifted to Flinders Medical Centre. Sadly, at 7.01 pm this evening (Saturday 18 November) the young
  man passed away in hospital surrounded by family and friends .

  The driver of the car, an 18-year-old Encounter Bay man, was arrested and charged with causing
  harm by dangerous driving, aggravated driving without due care, leaving the scene of a serious crash
  and failing to truly answer questions. He has been refused bail and will appear in Christies Beach
  Magistrates Court on Monday 20 November.
8:24-cv-00359-JFB-PRSE           Doc # 1      Filed: 09/13/24      Page 144 of 243 - Page ID # 144




                                                Subman

                                                 8.5 Yr

                                               09/06/2024
                                                14:53:47




My neighbor takes her dog across my property, sometimes he leaves gifts. The neighbor picks them
up and puts them into plastic bags. Miss Yukie looks allot like one of her gift bags. A ton of turds
wrapped up and confined to quarters.ha-ha-ha-ha!!!


      3       4
8:24-cv-00359-JFB-PRSE           Doc # 1      Filed: 09/13/24      Page 145 of 243 - Page ID # 145




 Don, You need to call the computer guy back. It's full of Fat Ugly Dumb, Shitheads that need to be
 deleted. He must have downloaded a virus by accident. REFUND PLEASE!


       3        5




                                                  Blairzy

                                                 11/18/2023
                                                  16:45:33




  Great video Senior, hope you don't lose to much sleep worrying about his pending legal action
  against you. I don't know if I can watch that again. I've watched enough to know his parents must
  have been very closely related. He's just another phony fat f**k who needs to be found face down in
  a ditch somewhere. I'm sorry, but there's only but one cure for a pedophile !!
8:24-cv-00359-JFB-PRSE          Doc # 1     Filed: 09/13/24      Page 146 of 243 - Page ID # 146




           JOIN NOW
            TO SEE
              IMA·GE

      2       2       1




                                              1S1(SW)

                                                2.3 Yr

                                             09/06/2024
                                              14:59:00




 Senior I'm a former GM and I'd love to send you a few of my old pies from 01-04 when I was
 deployed to the Truman


       7
8:24-cv-00359-JFB-PRSE             Doc # 1   Filed: 09/13/24   Page 147 of 243 - Page ID # 147




       6




                                               MANCHU

                                               11/18/2023
                                                17: 13:38




  its clearly the KOOL-AID 'MAN'


       1       5




                                                Subman

                                               11/18/2023
                                                16:51:10
8:24-cv-00359-JFB-PRSE              Doc # 1        Filed: 09/13/24   Page 148 of 243 - Page ID # 148




Just think ... .his vote counts just like yours.


      4        1        2




                                                    MANCHU

                                                      5 Yr

                                                   09/06/2024
                                                    15:04:06




TROLLIN through
8:24-cv-00359-JFB-PRSE          Doc # 1      Filed: 09/13/24       Page 149 of 243 - Page ID # 149




                                               NavySpook

                                                11/18/2023
                                                 17:21 :11




  "You're not gonna like what's comin up next. It's gonna suck."


       6




                                                 hball13

                                                11/18/2023
                                                 17:18:17




  Here thanks EWS ...... so get away for a moment, Tina's making salmon in the Ninja!
  Gonna watch now!
8:24-cv-00359-JFB-PRSE           Doc # 1      Filed: 09/13/24   Page 150 of 243 - Page ID # 150




Im a 5 year PRESCRIBER. ..

lol, thanks for the video, Senior, much appreciated


      5       1




                                                Steph

                                                  4 Yr

                                              09/06/2024
                                               15:16:07




Nice earrings Diane


      4




                                                Messer

                                                 7.2 Yr

                                               09/06/2024
                                                15:11:06
8:24-cv-00359-JFB-PRSE          Doc # 1      Filed: 09/13/24      Page 151 of 243 - Page ID # 151



                                                11/18/2023
                                                 17:33:01




  Only for CENTCOM -
  The Marine Corps component of U.S. Central Command canceled its annual birthday ball, citing
  "unforeseen operational commitments."

  Marine Corps Forces Central Command's birthday ball had been slated for Nov. 16 as a celebration
  of the Marine Corps' Nov. 10 birthday, according to a message by commander Maj. Gen. Chris
  McPhillips.
  "Because of the uncertain situation, the MARCENT Commander wants to avoid a last-minute
  cancellation that would burden Marines, families, veterans, and members of the community with
  trying to recoup money from ticket sales, reservations, etc.," Marine spokesman Capt. Joe Wright
  told Marine Corps Times via email on Wednesday.

  Wright attributed the "tough decision" to cancel the ball to "the dynamic and uncertain security
  environment in the CENTCOM (area of responsibility)."




                            ow
             ~
              T   E
              IMA .
8:24-cv-00359-JFB-PRSE   Doc # 1   Filed: 09/13/24   Page 152 of 243 - Page ID # 152




         JOIN NOW
          TO SEE
           IMAGE


     6




                                    MANCHU

                                      5 Yr

                                   09/06/2024
                                    15:28:28
8:24-cv-00359-JFB-PRSE          Doc # 1      Filed: 09/13/24       Page 153 of 243 - Page ID # 153



                                               11/18/2023
                                                17:39: 15




 Is it Chu?


       2       3       2




                                                 hball13

                                                11/18/2023
                                                 17:36:31




 I swore Chris Farley came back until I saw his ugly mug ....... what an ass clown '
 Don, once is enuff! .. =• •• ••


       3       3




                                                Simon77
8:24-cv-00359-JFB-PRSE           Doc # 1       Filed: 09/13/24      Page 154 of 243 - Page ID # 154




                                                MANCHU

                                                   5 Yr

                                               09/06/2024
                                                15:32: 14




Senior, tell lumpy bastard he'll never be compared to Chris Farley in Beverly Hills Ninja, plz
8:24-cv-00359-JFB-PRSE             Doc # 1       Filed: 09/13/24       Page 155 of 243 - Page ID # 155




            JOIN N
             TOS
              IMA


        6




                                                  Robin - E.E.

                                                   11/18/2023
                                                    17:43:31




  I think this guy is the biggest idiot I've seen on here! "   n   ~



        1        1        6




                                                      mick
8:24-cv-00359-JFB-PRSE           Doc # 1     Filed: 09/13/24      Page 156 of 243 - Page ID # 156




thing, Yukie would shit if he was fed well. Doesn't look like Yukie has missed many meals, Omar the
tent maker will never be out of business as long as Yukie need some new clothes. Yukie threatens a
lot, if Yukie would go that far for nothing, how far would he/she/it go for a quarter? Hope you and
Diane have a great weekend ...




          JOIN NOW
           TO SEE
              1MAGE

      5




                                              Roy_Bean

                                                 3 Yr

                                              09/06/2024
                                               15:50:13




 It's a little known fact that when the temperature goes down and the humidity goes up, scent gets
 stronger. That's why the dog could find the bird in the evening but not in the afternoon.


      6
8:24-cv-00359-JFB-PRSE        Doc # 1    Filed: 09/13/24    Page 157 of 243 - Page ID # 157




       3      4




                                            PARANAH

                                            11/18/2023
                                             18:04:35




 What the Hell???


       4      3




                                               guy

                                            11/18/2023
                                             17:52:58




  Swing the sword around reminded me of Jackie Gleason and The Honeymooners Ralph has to learn
  how to golf and Norton is giving him pointers.
8:24-cv-00359-JFB-PRSE            Doc # 1       Filed: 09/13/24       Page 158 of 243 - Page ID # 158




                                                   Blairzy

                                                    5.9 Yr

                                                 09/06/2024
                                                  16:08:48




 Great video D&D, glad to hear J bird didn't end up in Zena's mouth. Sounds like Herman needs to buy
 Zena a box of dog treats for finding the bird he downed. I really did have enough of that fat
 f'•""lrk/gearbox when you posted the first video of him/her/it. Yukie is gonna do this, that, and the other
8:24-cv-00359-JFB-PRSE            Doc # 1      Filed: 09/13/24   Page 159 of 243 - Page ID # 159




                                                 Hurdle11C

                                                 11/18/2023
                                                  19:06:45




 The biggest shock of all would be if this guy had a dad.


       5        3




                                               Yosemite Sam

                                                 11/18/2023
                                                  18:16:31




 Watch on YouTube
 Siege at Firebase Gloria: "Stay Alert, Stay Alive!"
8:24-cv-00359-JFB-PRSE        Doc # 1     Filed: 09/13/24    Page 160 of 243 - Page ID # 160




                                    Chuck golf :2/26th mar

                                              7 Yr

                                          09/06/2024
                                           16:21:57




Unbelievable. The Man Named ". Lardo ". The Amazing ldot


     9
8:24-cv-00359-JFB-PRSE           Doc # 1      Filed: 09/13/24      Page 161 of 243 - Page ID # 161




       6




                                                  Blairzy

                                                11/18/2023
                                                 19:18:51




  Senior is suggesting to watch this video two or three times. This apparently will build mental
 toughness. I fear if anyone watches this convicted pedophile one to many times, the damage would
 be irreversible .. .




            . . . ow
              TOSE
              IMA .· •


        4       1       3
8:24-cv-00359-JFB-PRSE           Doc # 1      Filed: 09/13/24      Page 162 of 243 - Page ID # 162




That guy is fucking nuts.


      6       2




                                                Phillips

                                                  1 Yr

                                               09/06/2024
                                                16:34:04




01' Pork Rind might want to think about smoking meth, since that gay ass Tai Chi isn't working .. .


      4       1
8:24-cv-00359-JFB-PRSE         Doc # 1     Filed: 09/13/24   Page 163 of 243 - Page ID # 163




       7       1       1




                                                steve

                                              11/18/2023
                                               19:24:27




  I thought it was John Candy doing a comedy skit


       2       3       2




                                               Buddy

                                              11/18/2023
                                               19:21:22




  The Who




  Watch on YouTube
  Watch on Youtube
8:24-cv-00359-JFB-PRSE             Doc # 1      Filed: 09/13/24   Page 164 of 243 - Page ID # 164




                                                  hball13

                                                      6.5 Yr

                                                 09/06/2024
                                                  16:43:54




Here ..... Finally, someone's gotta work! •• " " ,.
Thx, Canadian EWS!


      3        3




                                                  Lt.C~

                                                      7.2 Yr

                                                 09/06/2024
                                                  16:37:48
8:24-cv-00359-JFB-PRSE           Doc # 1         Filed: 09/13/24   Page 165 of 243 - Page ID # 165




                            0
              J0S
                IMA ·


        2       2       3




                                                     Hef83

                                                   11/18/2023
                                                    19:48:30




  I got caught on the street by the google car




              TOSE
             ""IMA
8:24-cv-00359-JFB-PRSE   Doc # 1   Filed: 09/13/24   Page 166 of 243 - Page ID # 166




                                    MANCHU

                                      5 Yr

                                   09/06/2024
                                    16:59:45




         JOIN NOW
          TO SEE
           IMAGE


     1     3
8:24-cv-00359-JFB-PRSE             Doc # 1   Filed: 09/13/24    Page 167 of 243 - Page ID # 167




  Yes, I remember this guy well.
 I'll bet you one thing though.
 I'll bet he's a liberal.


       7       1




                                             NavyArmyCoastG

                                               11/18/2023
                                                20:17 :46




  Don, AAAAHA !!! (insert Don Shipley yell)
  I have a guess to your request? however name(s) drops to floor .. its either
  1-fat slob, lunch tray/food fight guy? ( who claims he hit a SEAL Team Six Commander with a "Lunch
  Tray" and was Dishonorably Discharged) '
  or
  2-drag queen lumpy fucktard, weirdo female in USN whites, in full make up,pumps and who's
  swinging a sword,its that fruitcake slob 3-5 years ago you exposed on site?'-·
8:24-cv-00359-JFB-PRSE            Doc # 1    Filed: 09/13/24       Page 168 of 243 - Page ID # 168




          JOIN NOW
           TO SEE
            tMAGE  1




      2        6




                                              Mr Happy

                                                  6 Yr

                                              09/06/2024
                                               17:04:33




What the fuck did i just watch on the first min of the video!!!! No wonder D&D laughed at him. FBI is
on this, Mr Shirpley. So entertaining!!!


      5
8:24-cv-00359-JFB-PRSE   Doc # 1   Filed: 09/13/24   Page 169 of 243 - Page ID # 169




                                      jimmijo

                                     11/18/2023
                                      20:41:37




  It's CHU!!!!!


         4        1




                                   Jamey from PGH

                                     11/18/2023
                                      20:21:41
8:24-cv-00359-JFB-PRSE          Doc # 1     Filed: 09/13/24   Page 170 of 243 - Page ID # 170




                                                MANCHU

                                                   5 Yr

                                                09/06/2024
                                                 17:10:35




thankfully, yukiething has moons, not boobs!!
8:24-cv-00359-JFB-PRSE             Doc # 1       Filed: 09/13/24        Page 171 of 243 - Page ID # 171




                                                NavyArmyCoastG

                                                    11/18/2023
                                                     20:46:14




  on sex offender page ... the weight on this clown is not 295 lbs ..add 100 .... 395 .. all day, also, can I get
  in line to bitch slap this scum bum? or knock out some teeth? ~ •


        2         3




                                                       Mike

                                                    11/18/2023
                                                     20:45:08




  Strange Fruit


        1         2
8:24-cv-00359-JFB-PRSE          Doc # 1      Filed: 09/13/24     Page 172 of 243 - Page ID # 172




                                               ebeeby

                                                8.8 Yr

                                             09/06/2024
                                              17:21:06




 woot!


         10




                                              Ironballs

                                                4.3 Yr

                                              09/06/2024
                                               17:11:21




 The beginning was painful watching that disgusting fat body do ballet. He's nothing but mouth. Cool
 Zena found Hermans bird. Hope Everyone is enjoying the beginning of their weekend.


         8
8:24-cv-00359-JFB-PRSE          Doc # 1      Filed: 09/13/24   Page 173 of 243 - Page ID # 173




                                                Roy_Bean

                                                11/18/2023
                                                 20:49:27




  I've been an LGBT supporter since I was about 12......




                            O ·
              I0S
                IMA


        4       3       5
8:24-cv-00359-JFB-PRSE                Doc # 1   Filed: 09/13/24   Page 174 of 243 - Page ID # 174



                                                09/06/2024
                                                 18:06:01




 What a fat freak loser!


       2




                                                 MANCHU

                                                    5 Yr

                                                 09/06/2024
                                                  18:05:06




 I think I just found yukie's trainer ...



 https://x.com/i/status/1832191809943957800


        2        1
8:24-cv-00359-JFB-PRSE         Doc # 1      Filed: 09/13/24   Page 175 of 243 - Page ID # 175




               JOIN N .
                TOS~



                 IMA


          2        1     1       1




                                                 hball13

                                                11/18/2023
                                                 20:55:47




   Blairzy......



   Watch on YouTube
   Why NHL players don't want to play hockey in Canada ...


          4
8:24-cv-00359-JFB-PRSE         Doc # 1     Filed: 09/13/24   Page 176 of 243 - Page ID # 176




                                              Steph

                                                   4 Yr

                                            09/06/2024
                                             18:07:25




 Who remembers this scene in 5th element • 1•1• •

 How USA President Don Shipley deals with idiots


      3       1




                                            Jordanb18

                                               8.8 Yr
8:24-cv-00359-JFB-PRSE           Doc # 1      Filed: 09/13/24      Page 177 of 243 - Page ID # 177




   Don lives in the jungle of Phony's, he is the King of the jungle taking them on and
   winning



   Watch on YouTube
   Guns N' Roses - Welcome To The Jungle


         4




                                                   Blairzy

                                                  11/18/2023
                                                   21:00:09




   Hey Hef what time is it ??



   Watch on YouTube
   Motorhead- Time to Play the Game (lyrics)
8:24-cv-00359-JFB-PRSE           Doc # 1     Filed: 09/13/24      Page 178 of 243 - Page ID # 178



                                              09/06/2024
                                               18:32:37




 If youve been in prison for sex crimes you have no reputation to slander or defame. Youre a piece if
 shit.


       6




                                                 Paul

                                                 1.1 Yr

                                               09/06/2024
                                                18:20:44




 "Deflamation of character" ,•


       2       2




                                                          •
                                                 mick

                                                  1 Yr

                                               09/06/2024
                                                18:18:27




 What a dog thats so clever and she wanted to find it to make you happy. Well trained Don
 outstanding work.


       4
8:24-cv-00359-JFB-PRSE            Doc # 1      Filed: 09/13/24        Page 179 of 243 - Page ID # 179




                                                   Roy_Bean

                                                   11/18/2023
                                                    21:07:39




   Before youse all get into the hard rock, here's a little bit of Tennessee hillbilly music.



   Watch on YouTube
   Hillary Klug - Cotton Eyed Joe


         6




                                                     hball13

                                                   11/18/2023
                                                    21:04:26
8:24-cv-00359-JFB-PRSE           Doc # 1     Filed: 09/13/24   Page 180 of 243 - Page ID # 180




 https://youtube.com/shorts/KhKRln1 vs9A

 Watch on YouTube
 Khabib and Daniel Cormier talk about GSP




           '· :•' . :o
             TOSE :
             :IMAG
                             f



      4        2




                                            VanillaGuerrilla

                                                4 Months

                                               09/06/2024
                                                18:50:10




 Damn .... There's some things you just can't unsee.


       2       3




                                                          •
                                                  mick

                                                   1 Yr
8:24-cv-00359-JFB-PRSE       Doc # 1   Filed: 09/13/24   Page 181 of 243 - Page ID # 181




               IMA


        2      1




                                           hball13

                                          11/18/2023
                                           21:07:51




   Watch on YouTube
   American Made - Oak Ridge Boys


        3
8:24-cv-00359-JFB-PRSE            Doc # 1      Filed: 09/13/24      Page 182 of 243 - Page ID # 182




                                                  Blairzy

                                                   5.9 Yr

                                                09/06/2024
                                                 18:56:18




 If you wanna see a real mixed martial artist. George St-Pierre, 3 time, 2 division UFC Champion ... #!
8:24-cv-00359-JFB-PRSE          Doc # 1      Filed: 09/13/24        Page 183 of 243 - Page ID # 183




  Watch on YouTube
  The Allman Brothers Band - Whipping Post (Lyric Video)




            JOIN NOW
               T0 SEE£
                   IMAGE


        5




                                                 Simon77

                                                11/18/2023
                                                 21 :09:30




  Too Early?   L   , <




  Watch on YouTube
  Mariah Carey - All I Want For Christmas Is You (Official Video)
8:24-cv-00359-JFB-PRSE        Doc # 1   Filed: 09/13/24   Page 184 of 243 - Page ID # 184




                                         PARANAH
                                           8.1 Yr

                                         09/06/2024
                                          19:52:12




 Good Evening Ladies & Gentlemen!


      6
8:24-cv-00359-JFB-PRSE   Doc # 1   Filed: 09/13/24   Page 185 of 243 - Page ID # 185




                                        hball13

                                       11/18/2023
                                        21:15:04




  Watch on YouTube
  GEORGE THOROGOOD "Bad To The Bone"


       5     1




                                        redman

                                       11/18/2023
                                        21 :11:44
8:24-cv-00359-JFB-PRSE        Doc # 1   Filed: 09/13/24   Page 186 of 243 - Page ID # 186




           JOIN NOW
            TO SEE
             IMAGE


      1        5          1




                                        Lazybones

                                           5.5 Yr

                                         09/06/2024
                                          20:27:37




 Thank God it's Friday!



 Watch on YouTube
 Entry of the Gladiators!


       4
8:24-cv-00359-JFB-PRSE   Doc # 1   Filed: 09/13/24   Page 187 of 243 - Page ID # 187




                                      redman

                                     11/18/2023
                                      21 :15:24




  Watch on YouTube
  L.A. Woman




                 0
            TOSE
            IMA . •


       1     4
8:24-cv-00359-JFB-PRSE   Doc # 1   Filed: 09/13/24   Page 188 of 243 - Page ID # 188




         JOIN NOW
          TO SEE
           ·l·MAGE


     1     2     4




                                    MANCHU

                                       5 Yr

                                   09/06/2024
                                    20:32:51
8:24-cv-00359-JFB-PRSE      Doc # 1   Filed: 09/13/24   Page 189 of 243 - Page ID # 189




  Watch on YouTube
  Norah Jones - Come Away With Me




       4




                                       GrumpyCPO

                                        11/18/2023
                                         21:17:06




           JOIN NOW
             T0SEE
              IMAGE


       2      3
8:24-cv-00359-JFB-PRSE             Doc # 1      Filed: 09/13/24    Page 190 of 243 - Page ID # 190




 There is only one thing I hate more than a tranny and that is two of them. I want to be a fly on the
 wall when these assholes face God on the way to hell. I'm still pissed that some leftist president
 allowed them into the military.


       5




                                                  MANCHU

                                                     5 Yr

                                                  09/06/2024
                                                   20:37:26




  bless her heart, Ms Robin tries her best...
8:24-cv-00359-JFB-PRSE         Doc # 1   Filed: 09/13/24   Page 191 of 243 - Page ID # 191




                                            hball13

                                           11/18/2023
                                            21 :17:29




  A song for the phony .....



  Watch on YouTube
  Watch on Youtube


        1        3




                                            redman

                                           11/18/2023
                                            21 :17:06
8:24-cv-00359-JFB-PRSE           Doc # 1      Filed: 09/13/24   Page 192 of 243 - Page ID # 192




                                               Roy_Bean

                                                      3 Yr

                                               09/06/2024
                                                21:05:19




 This makes it official. Cheney is a uniparty RINO.

 https://www.yahoo.com/news/former-republican-vice-president-dick-192700155.html


       2       2       1




                                               RadioMAN

                                                  4.5 Yr

                                               09/06/2024
                                                20:54:17
8:24-cv-00359-JFB-PRSE         Doc # 1   Filed: 09/13/24   Page 193 of 243 - Page ID # 193




                                            MANCHU

                                           11/18/2023
                                            21:29:02




  ~NOTICE~ NSFW video (and song)



  Watch on YouTube
  Wheeler Walker Jr. - Puss in Boots


       3
8:24-cv-00359-JFB-PRSE   Doc # 1   Filed: 09/13/24   Page 194 of 243 - Page ID # 194




     6




                                     Hef83

                                      7.4 Yr

                                   09/06/2024
                                    21:24:55




         JOIN NOW
          TO SEE ,
           :IMAGE


     5
8:24-cv-00359-JFB-PRSE      Doc # 1    Filed: 09/13/24   Page 195 of 243 - Page ID # 195




                        ow
             TO SEE
              •
             IMA


       2      3




                                           Blairzy

                                          11/18/2023
                                           21:32:36




  Watch on YouTube
  Stompin Tom Corners - Good Old Hockey Game


       3
8:24-cv-00359-JFB-PRSE   Doc # 1   Filed: 09/13/24   Page 196 of 243 - Page ID # 196




          JOIN N:OW
           TO SEE
            l'MAGE


      3     1




                                       Hef83

                                       7,4 Yr

                                     09/06/2024
                                      21:37:04




          JOIN NOW
           TO SEE
            IMAGE
8:24-cv-00359-JFB-PRSE      Doc # 1   Filed: 09/13/24   Page 197 of 243 - Page ID # 197




  Watch on YouTube
  Jimmy Buffett - Volcano




           JOIN NOW
            TO SEE
             IMAGfz

       1       1       1




                                          Hef83

                                        11/18/2023
                                         21:33:19




  Watch on YouTube
  Bad Company - Good Lovin Gone Bad
8:24-cv-00359-JFB-PRSE   Doc # 1   Filed: 09/13/24   Page 198 of 243 - Page ID # 198




          JO:IN NOW
           TO SEE_.·
            IMAGE

      5




                                     MANCHU

                                        5 Yr

                                     09/06/2024
                                      21:41:42
8:24-cv-00359-JFB-PRSE            Doc # 1      Filed: 09/13/24   Page 199 of 243 - Page ID # 199




  Watch on YouTube
  Night Ranger - Dont Tell Me You Love Me hq




                ';{)

            JOIN NOW
             T0SEE
              IMAG~


        3




                                                    Blairzy

                                                  11/18/2023
                                                   21:37:54




  This dedication is going out to my special girl Robin ...
8:24-cv-00359-JFB-PRSE   Doc # 1   Filed: 09/13/24   Page 200 of 243 - Page ID # 200




          JOl:N NOW
           TO SEE ,
            IMAGE

      1     3     1




                                     MANCHU

                                        5 Yr

                                    09/06/2024
                                     21:46:44
8:24-cv-00359-JFB-PRSE        Doc # 1   Filed: 09/13/24   Page 201 of 243 - Page ID # 201




                                            Blairzy

                                          11/18/2023
                                           21:41:28




  Watch on YouTube
  Prism - Take Me To The Kaptin


       3




                                            Hef83

                                          11/18/2023
                                           21:39:05
8:24-cv-00359-JFB-PRSE          Doc # 1      Filed: 09/13/24     Page 202 of 243 - Page ID # 202




                                                 5.9 Yr

                                              09/06/2024
                                               22:02:16




 Robin decided to get a room for the night after the wine tasting event. She thought it would be much
 safer than driving home ...




           JO:IN NOW
             TO SEE
               IMAGEf

       3       2




                                                Hef83

                                                 7.4 Yr

                                              09/06/2024
                                               21:59:41
8:24-cv-00359-JFB-PRSE       Doc # 1    Filed: 09/13/24    Page 203 of 243 - Page ID # 203




                                           MANCHU

                                           11/18/2023
                                            21:46:33




 ~NOT A SONG- QUICK VID~ If your shower was like a car wash.



 https://imgur.com/5rpbn5N


      4
8:24-cv-00359-JFB-PRSE        Doc # 1   Filed: 09/13/24   Page 204 of 243 - Page ID # 204




  Greetings .....



 Watch on YouTube
 Trump His Private Gun Collection


         2          1




                                           Blairzy
8:24-cv-00359-JFB-PRSE   Doc # 1   Filed: 09/13/24   Page 205 of 243 - Page ID # 205




                                       Hef83

                                     11/18/2023
                                      21 :49:13




  Watch on YouTube
  Caught Up In You




           . .       · OW
            TOS
           - IMA .


       1     4       1
8:24-cv-00359-JFB-PRSE          Doc # 1   Filed: 09/13/24   Page 206 of 243 - Page ID # 206




                                             Hef83

                                              7.4 Yr

                                           09/06/2024
                                            23:02:21




  Saturday in the Muncie area



  Watch on YouTube
  THE CARS - MOVING IN STEREO • ALL MIXED UP (1978)


       2       1




                                             hball13

                                              6.5 Yr

                                            09/06/2024
                                             22:33:50
8:24-cv-00359-JFB-PRSE           Doc # 1   Filed: 09/13/24   Page 207 of 243 - Page ID # 207




            .               ow
                TOS
                lrv1A .•.


       3




                                              hball13

                                             11/18/2023
                                              21:52 :27




 Watch on YouTube
 I Think I'll Just Stay Here And Drink


       4
8:24-cv-00359-JFB-PRSE   Doc # 1   Filed: 09/13/24   Page 208 of 243 - Page ID # 208




          JOIN NOW
           TO SEE
            t·MAGE


     4




                                     hball13

                                      6.5 Yr

                                    09/06/2024
                                     23:20:19




 Who's da man?


      1      1
8:24-cv-00359-JFB-PRSE        Doc # 1     Filed: 09/13/24   Page 209 of 243 - Page ID # 209




 Watch on YouTube
 Ball Of Confusion - The Temptations (1970)


       3




                                                Hef83

                                              11/18/2023
                                               21 :52 :58




  Watch on YouTube
  Rockin' Into The Night
8:24-cv-00359-JFB-PRSE         Doc # 1    Filed: 09/13/24     Page 210 of 243 - Page ID # 210




a camera probably would work too, Sam, can I get your opinion on a camera? hahahhaa




         JOIN NO·W
          TO SEE
           IMAGE

     3       2




                                             Hef83

                                              7.4 Yr

                                           09/06/2024
                                            23:32:42
8:24-cv-00359-JFB-PRSE          Doc # 1     Filed: 09/13/24   Page 211 of 243 - Page ID # 211




                                                   Blairzy

                                               11/18/2023
                                                21 :58:26




 Watch on YouTube
 Riding With The King - B.B. King & Eric Clapton


       3




                                                   hball13

                                               11/18/2023
                                                21 :55:17
8:24-cv-00359-JFB-PRSE   Doc # 1   Filed: 09/13/24   Page 212 of 243 - Page ID # 212




         JOIN NO·W
          TO SEE
           IMA·GE

     1     2     1




                                    MANCHU

                                       5 Yr

                                    09/06/2024
                                     23:45:57
8:24-cv-00359-JFB-PRSE   Doc # 1   Filed: 09/13/24   Page 213 of 243 - Page ID # 213




                                       Hef83

                                     11/18/2023
                                      22:01:45




  Watch on YouTube
  Back for More




                  0
             TO SEE:
            - IMA


       3
8:24-cv-00359-JFB-PRSE         Doc # 1     Filed: 09/13/24     Page 214 of 243 - Page ID # 214




Watch on YouTube
A Bronx Tale - Bikers Scene "Now Youse Can't Leave" Movie Scene Clip High Quality 4K


      2      1




                                            MANCHU

                                               5 Yr

                                            09/06/2024
                                             23 :53 :49




 Ms Robin knows science!!
 and Im out for the night
8:24-cv-00359-JFB-PRSE        Doc # 1    Filed: 09/13/24   Page 215 of 243 - Page ID # 215




 Watch on YouTube
 Hit the road Jack!


       3




                                             Hef83

                                           11/18/2023
                                            22:04:01




  Watch on YouTube
  Don Henley-The Boys Of Summer (Official Music Video)




           JOIN NOW
            TO SEE
             IMAG~


       2       1
8:24-cv-00359-JFB-PRSE            Doc # 1   Filed: 09/13/24   Page 216 of 243 - Page ID # 216




It's Saturday in the Central!   11 • • a




Watch on YouTube
The Rascals - It's A Beautiful Morning




          JOIN NOW
           TO SEE
            IMAGE


      3




                                             Simon77

                                               8.5 Yr

                                            09/06/2024
                                             23:58:09




A Bronx Tale - Bikers meet Mobsters.
8:24-cv-00359-JFB-PRSE        Doc # 1   Filed: 09/13/24   Page 217 of 243 - Page ID # 217




       3       1          1




                                           hball13

                                          11/18/2023
                                           22:06:20




  Watch on YouTube
  Alice Cooper - Poison


       2       1




                                           hball13

                                          11/18/2023
                                           22:05: 19
8:24-cv-00359-JFB-PRSE          Doc # 1     Filed: 09/13/24      Page 218 of 243 - Page ID # 218




                                             Gator MAP

                                                3.2 Yr

                                             09/07/2024
                                              00:08:39




Hahaha. The silly dancing and the over the top lawsuit babble with incorrect grammar is hilarious.


     4




                                               hball13

                                                6.5 Yr

                                             09/07/2024
                                              00:00:56
8:24-cv-00359-JFB-PRSE             Doc # 1      Filed: 09/13/24       Page 219 of 243 - Page ID # 219




 Watch on YouTube
 Cold as Ice




                             ow
               T0S
               IMA


        3




                                                    hball13

                                                   11/18/2023
                                                    22:10:13




  Hot Shania for the Boyz ........ a bit of back up eye candy for Robin!



  Watch on YouTube
  Shania Twain - Man! I Feel Like A Woman (Official Music Video)
8:24-cv-00359-JFB-PRSE        Doc # 1   Filed: 09/13/24   Page 220 of 243 - Page ID # 220




                                           Hef83

                                            7.4 Yr

                                         09/07/2024
                                          00:46:35




 Watch on YouTube
 30 Days In The Hole




           :       .   . ,Q
               TOSE
               t:MAG

      2        1
8:24-cv-00359-JFB-PRSE         Doc # 1     Filed: 09/13/24      Page 221 of 243 - Page ID # 221




                                              CozyDad

                                              11/18/2023
                                               22:16:03




 Soft? Weak? I enlisted multiple times. I smuggled coke to Madonna ... c'mon man.




                                                Hef83

                                              11/18/2023
                                               22:14:14
8:24-cv-00359-JFB-PRSE       Doc # 1    Filed: 09/13/24   Page 222 of 243 - Page ID # 222




           JOIN NOW
            TO SEE
              t:MAGE


      2       1




                                          hball13

                                              6.5 Yr

                                         09/07/2024
                                          00:55:40




 DONT WATCH IF YOU'RE EASILY OFFENDED .....



 Watch on YouTube
 Skeletor goes too far


       1       2
8:24-cv-00359-JFB-PRSE          Doc # 1     Filed: 09/13/24   Page 223 of 243 - Page ID # 223




           JOIN NOW
              T0SEE
               IMAGE


       3




                                                Blairzy

                                               11/18/2023
                                                22 :16:20




  Watch on YouTube
  Winger - Can't Get Enough (Official Music Video)


       2
8:24-cv-00359-JFB-PRSE      Doc # 1     Filed: 09/13/24   Page 224 of 243 - Page ID # 224




          JOIN NO·W
            TO SEE
             IMAGE

      1      1      1




                                           Hef83

                                           7.4 Yr

                                         09/07/2024
                                          01:00:20




 Watch on YouTube
 Take Me To The Top (Remastered 2006)
8:24-cv-00359-JFB-PRSE         Doc # 1     Filed: 09/13/24     Page 225 of 243 - Page ID # 225




 Watch on YouTube
 Tom Petty And The Heartbreakers - A Woman In Love (It's Not Me) (Official Music Video)




                       · OW
             TOS •
             IMA


      3




                                               Hef83

                                             11/18/2023
                                              22:21:58




 Watch on YouTube
 Tom Petty- A Face In The Crowd
8:24-cv-00359-JFB-PRSE         Doc # 1      Filed: 09/13/24   Page 226 of 243 - Page ID # 226




  Good ole Master Chief ....



  Watch on YouTube
  Navy Seal Master Chief Hershel Davis with a joke


        1




                                                Hef83

                                                 7.4 Yr

                                              09/07/2024
                                               01:11:51




  Watch on YouTube
  Snowblind
8:24-cv-00359-JFB-PRSE         Doc # 1      Filed: 09/13/24     Page 227 of 243 - Page ID # 227




                                                hball13

                                               11/18/2023
                                                22 :43:16




  Watch on YouTube
  Rage Against The Machine - Killing In the Name (Official HD Video)


       3




                                                 Hef83

                                               11/18/2023
                                                22:27:32
8:24-cv-00359-JFB-PRSE         Doc # 1     Filed: 09/13/24   Page 228 of 243 - Page ID # 228




                                               hball13

                                                6.5 Yr

                                              09/07/2024
                                               02:32:00




  Watch on YouTube
  Watch Trump's Powerful 2024 Afghanistan Message Ad!

  https://m.youtube.com/watch?v=aoQErfiltBI

  https://m.youtube.com/watch?v=YEE-rwe0_z8
                                        _.,.....,..




                                               hball13
                                                 6.5 Yr

                                              09/07/2024
                                               02 :27:11
8:24-cv-00359-JFB-PRSE           Doc # 1       Filed: 09/13/24      Page 229 of 243 - Page ID # 229




                                                    Hef83

                                                  11/18/2023
                                                   22:45:19




  Bob outside for a little 1 on 1 about his install call backs but you can see what I have to work with, all
  caught on Google street view.



  Watch on YouTube
  Watch on Youtube




            JOIN NOW
             TOSE~
              IMAGE


        3
8:24-cv-00359-JFB-PRSE          Doc # 1     Filed: 09/13/24      Page 230 of 243 - Page ID # 230




                                                Matt

                                             New Member

                                             09/07/2024
                                              03:42:07




Hate crime?!? Bullying?!? This so called lawyer or whoever, HE is a fckng MORON! Tell that scumbag
to STFU!!! Some of my family lives in Nebraska. This DUDE should stick out real quick ,;;- _




                                               hball13

                                                6.5 Yr

                                             09/07/2024
                                              02 :46:14




 I'm hitting the rack ...



 Watch on YouTube
 Wisconsin man fined for stealing political campaign signs from front yards


        1
8:24-cv-00359-JFB-PRSE         Doc # 1        Filed: 09/13/24   Page 231 of 243 - Page ID # 231




  Watch on YouTube
  Alabama - Mountain Music (Official Video)


        3




                                                 hball13

                                                11/18/2023
                                                 22:45:59




  Loved this movie ..



  Watch on YouTube
  Yakety Yak-The coasters-original song-1958


        3
8:24-cv-00359-JFB-PRSE          Doc # 1     Filed: 09/13/24      Page 232 of 243 - Page ID # 232



                                             Yosemite Sam

                                                  8 Yr

                                               09/07/2024
                                                04:47:27




  Watch on YouTube
  The Rascals - People Got To Be Free (Remastered)




       1




                                                 Matt

                                               New Member

                                               09/07/2024
                                                03:55:46




  His butt-stock is also not secure. Not from what I'm seeing but IDK what they were doing exactly.
  Looksfunthoughlol Q .
8:24-cv-00359-JFB-PRSE         Doc # 1      Filed: 09/13/24     Page 233 of 243 - Page ID # 233




  Watch on YouTube
  Glenn Frey- You Belong To The City- HD


       3




                                                Hef83

                                              11/18/2023
                                               22:54:21




  Watch on YouTube
  BILLY SQUIER - She Goes Down (Official Music Video - rare unaired banned video - nudity)


       2




                                               hball13

                                              11/18/2023
                                               22:49:25
8:24-cv-00359-JFB-PRSE   Doc # 1   Filed: 09/13/24   Page 234 of 243 - Page ID # 234




            J01N NOW
             TO SEE _,·
              IMAGE




                                      Buddy

                                       6.1 Yr

                                    09/07/2024
                                     05:47:17




  Morning
8:24-cv-00359-JFB-PRSE         Doc # 1      Filed: 09/13/24   Page 235 of 243 - Page ID # 235




                                               hball13

                                              11/18/2023
                                               23:02:11




 Watch on YouTube
 Blues Traveler - Run-Around (Official Music Video)


       1       1




                                               hball13
                                              11/18/2023
                                               22 :55:33
8:24-cv-00359-JFB-PRSE       Doc # 1    Filed: 09/13/24   Page 236 of 243 - Page ID # 236




  Phony SEAL Minister Yukie rears her/his Ugly Head again and defending
  a Commanding Officer.
  Phony SEAL Minister Yuk:ie rears her/his Ugly Head again and defending a Commanding
  Officer. Many Thanks For The SUPPORT. ..

  Comments




                                           MANCHU

                                             5 Yr

                                          09/07/2024
                                           05:58:00
8:24-cv-00359-JFB-PRSE           Doc # 1      Filed: 09/13/24              Page 237 of 243 - Page ID # 237




                  IN THE DISTRICT COURT            °FYt                COUNTY, NEBRASKA

    TABITHA R. ELLIOTT,                                     )
                                                                       D
                                             1818                  p        DECREE
                                     Plaintiff,                        2: 2 I
    vs.
                                                  A_q;;..        cou:a~---
                                           CLfR r( Of DIST. COtllfF No. CI18-12
                                                            )
    ROBERT C. ELLIOTT,                                      )
                                                            )
                                     Defendant.             )

               NOW on the 2nd day of October, 2018, this matter came on for hearing before the
     Honorable Terri S. Harder, District Judge, Adams County, Nebraska on the Plaintiff's
     Complaint for Dissolution of Marriage and the evidence relative thereto. The Plaintiff
     appeared personally with her counsel, Susan K. Alexander. The Defendant failed to file
     an answer or appear.
               Hearing was held, evidence adduced, and the Court, being fully advised in the
     premises, finds as follows:
                                                            I.
               The Plaintiff has been a resident of Nebraska for more than one year prior to the
     filing of the Complaint for Dissolution of Marriage.
                                                        II.
               The Plaintiff was a resident of Hastings, Adams County, Nebraska at the time the
     Complaint for Dissolution of Marriage was filed.
                                                        III.
               The Complaint for Dissolution of Marriage was filed on the 8th day of January,
     2018 and the Defendant was personally served on January 18, 2018. The Court finds that
     more than sixty (60) days have passed since the perfection of service of process upon the
     Defendant and notice of the final hearing was forwarded to the Defendant at his last
     known address.
                                                       IV.
               The Court has jurisdiction over the parties hereto and the subject matter on this
     action.




                                                            1
                                                                                IHIIIIIIIHH
                                                                                J00042559D14
8:24-cv-00359-JFB-PRSE          Doc # 1      Filed: 09/13/24      Page 238 of 243 - Page ID # 238




                                                   V.
             No other actions are pending for divorce, separation or dissolution of marriage
     either in this state or elsewhere, save and except the matter presently before this Court.
                                                  VI.
             Neither party is a member of the Armed Forces of the United States of America
     or its allies nor has either party been ordered for induction therein.
                                                  VII.
            The parties were married on the 17th day of December, 2013 in Kearney, Buffalo
     County, Nebraska.
                                                  VIII.
             The marriage of the Plaintiff and the Defendant is irretrievably broken; reasonable
     efforts to reconcile the marriage have been made but said reconciliation efforts have
     failed; further efforts at reconciliation would be fruitless and the marriage should be
     dissolved.
                                                   IX.
             The parties are the parents of two minor children, whose custody and welfare are
     affected by these proceedings, to-wit: Whitewolf Wallace Salazar Fuentes Elliott, born in
     2015 and Shiloh Jean Reneesia Elliott, born in 2016. The Court finds that the Plaintiff is
     a fit and proper person to have the permanent legal and physical care custody and control
     of the parties' minor children.
                                                   X.
             The Defendant has committed acts which constitutes child abuse and neglect and
     domestic abuse towards the Plaintiff and the minor children and has been diagnosed with
     mental conditions which affect the children's safety. As such, the Defendant should not
     have parenting time or contact with the children at this time.
                                                   XI.
             Due to the Defendant's incarceration and receiving Social Security Disability, the
     Court further finds the Defendant should pay, through the Nebraska Child Support
     Payment Center, P. 0. Box 82600, Lincoln, Nebraska 68501, child support and
     maintenance for the parties' two minor children in the sum of $50.00 per month. Said
     payment shall commence upon the first day of October 1, 2018 and should continue to be



                                                    2
8:24-cv-00359-JFB-PRSE        Doc # 1      Filed: 09/13/24      Page 239 of 243 - Page ID # 239




     due and payable on the first day of each month thereafter until the minor children reach
     the age of majority under Nebraska law, become emancipated, become self-supporting,
     marry or die, order of the Court.
                                                 XII.
             The minor children are currently receiving health insurance coverage through the
     State of Nebraska and cash medical support is not appropriate at this time.
                                              XIII.
             The parties have acquired property and incurred marital debts during the marriage
     which should be equitably divided.
             IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that the
     marriage of Tabitha R. Elliott and Robert C. Elliott, be, and hereby is, dissolved, with this
     Decree becoming final and operative, except for the purpose of review by appeal, without
     any further action of the Court, thirty (30) days after it is rendered or on the death of one
     of the parties to the dissolution, whichever first occurs; however, for purposes of
     remarriage or the continuation of health insurance coverage, the Decree becomes final
     and operative six (6) months after the Decree is rendered or on the death of one of the
     parties to the dissolution, whichever occurs first.     If the Decree becomes final and
     operative on the death of either of the parties, the Decree shall be treated as if it became
     final and operative the day it was rendered.
             IT IS FURTHER ORDERED that the Plaintiff, Tabitha R. Elliott is awarded the
     permanent legal and physical care, custody and control of the minor children.
            IT IS FURTHER ORDERED that Defendant shall have no parenting time and is
     prohibited from having contact or access to the children, at this time. The Defendant may
     file an application with the Court to readdress visitation but the Defendant has the burden
     of proving parenting time or other access to the Defendant will not endanger the children
     or the Plaintiff.
             IT IS FURTHER ORDERED that the Defendant shall pay, through the Nebraska
     Child Support Payment Center, P.O. Box 82600, Lincoln, NE 68502-2600, the sum of
     $50.00 per month as child support commencing October I, 2018 and continuing in a like
     manner on the I st day of each month thereafter until the minor children, reach the age of
     majority under Nebraska law, become emancipated, become self-supporting, marry or die



                                                    3
8:24-cv-00359-JFB-PRSE         Doc # 1      Filed: 09/13/24    Page 240 of 243 - Page ID # 240




     or until further order of the Court. All such payments must include name of payor, social
     security number of payor, county and court case number.
            All child support payments shall become delinquent the day after they are due and
     owing. Pursuant to Neb. Rev. Stat. Section 42-358.02 .                        all delinquent
     child support shall accrue interest at the rate of 4.136 percent per annum, which interest
     shall not accrue until thirty (30) days after such payments are delinquent.
            IT IS FURTHER ORDERED that Defendant is required to furnish to the Nebraska
     Child Support Payment Center and the Clerk of the District Court of Adams County,
     Nebraska his address, telephone number, social security number, the name of his
     respective employer, and any other information the Court shall deem relevant until the
     child support judgment is paid in full. Defendant is further ordered to advise the Clerk of
     any changes in such information between the time of entry of this Decree and payment of
     the child support judgment in full. Failure to comply with the provisions of this section
     shall be punishable by contempt. In the even; that Defendant fails to pay any child
     support payment, as such failure is certified to the Court each month by the Clerk of the
     District Court and/or Nebraska Child Support Payment Center in cases where Court-
     ordered child support is delinquent in an amount equal to the support due and payable for
     a one (1) month period of time, he may be required to appear in Court and show cause
     why such payment was not made. In the event Defendant fails to pay or appear as so
     ordered, a warrant shall be issued for his arrest.
            IT IS FURTHER ORDERED that neither party shall pay spousal support to the
     other and Plaintiff has acknowledged that since spousal support is not awarded at this
     time, it cannot be awarded in the future.
            IT IS FURTHER ORDERED that the parties shall each pay and hold the other
     party harmless from the debts incurred by them in their individual names.
             IT IS FURTHER ORDERED that each party shall be awarded the personal
     property currently in their respective possession. The Plaintiff shall forward to
     Defendant's father, the Defendant's birth certificate and any other personal documents
     belonging to the Defendant that she may have.
            IT IS FURTHER ORDERED that the Plaintiff's maiden name of Tabitha R.
     Holdeman is restored to her.



                                                   4
8:24-cv-00359-JFB-PRSE         Doc # 1      Filed: 09/13/24      Page 241 of 243 - Page ID # 241




            IT IS FURTHER ORDERED that each party shall sign and execute such deeds,
     titles and instruments of transfer as shall be necessary to accomplish the division of
     property as provided for herein and, in the event that either party shall neglect or refuse to
     execute such deeds, titles and instruments of transfer, this Decree shall serve as such
     deed, assignment and transfer in and of its own effect.
            Complete record is waived.
            DATED this f}J day of October, 2018.


                                            BY THE COURT:




                                              iictCourtJudge

     PREPARED BY:
     Susan K. Alexander, #17235
     Attorney at Law
     P. 0 . Box 1151
     Hastings, NE 68902-1151
     (402) 463-7088
     ska@salexanderlaw.com
     Attorney for Plaintiff




                                                   5
   8:24-cv-00359-JFB-PRSE    Doc # 1   Filed: 09/13/24   Page 242 of 243 - Page ID # 242




I, the undersigned, certify that on October 2, 2018 , I served a copy of the foregoing
document upon the following persons at the addresses given, by mailing by United States Mail,
postage prepaid, or via E-mail:

Robert C Elliott                         Susan K Alexander
Nebraska Diagnostic & Eval Center        ska@salexanderlaw.com
3220 West Van Dorn Street
Lincoln, NE 68522




Date:   October   2, 2018
8:24-cv-00359-JFB-PRSE    Doc # 1   Filed: 09/13/24   Page 243 of 243 - Page ID # 243




    The statement and all that is attached to this all sworn and truth in the
    manner now .The plaintiff now prays and I come now to sworn and show all
    proof of burden as well the evidence to ask the courts, jury and judge to
    see there is laws that are broken and as well as civil rights to ask the courts
    to step-in as well as the is prior history of this man intentionally given out
    private information and hiding being his company to-do so thus the city law
    of NE,VA,MD, state laws NE,VA,MD federal laws of the united states have
    been violated for over 6 years and growing of intentional cause retaliate
    against the registrants, their families, or their employers in any way.
    Vandalism, verbal or written threats of harm on the plainitiff for over 6
    years and now as the laws




    Yukie Soto-Elliott
    Po box 641503
    Omaha NE 68164
    4028501498
    Relliottnews237369@outlook.com
